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                                                                     Exhibit C



                     Exhibit C
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 1                             IN THE UNITED STATES DISTRICT COURT

 2                                  FOR THE DISTRICT OF IDAHO

 3

 4                  DICKINSON FROZEN FOODS, INC.,    )

 5                     Plaintiff/Counterdefendant, )     Case No.

 6                  vs.                              )   1:17-CV-00519-DCN

 7                  FPS FOOD PROCESS SOLUTIONS       )

 8                  CORPORATION,                     )

 9                     Defendant/Counterclaimant.    )

10                  _______________________________)

11

12

13                                 DEPOSITION OF ROBERT REBMANN

14                                        March 27, 2019

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17

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21                  REPORTED BY:

22

23                  JANET FRENCH, CSR NO. 946

24

25                  Notary Public



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                                                                          2

 1              1               THE DEPOSITION OF ROBERT REBMANN was taken

 2              2    on behalf of the Defendant, at the offices of Hawley

 3              3    Troxell, located at 2010 Jennie Lee Drive, Idaho

 4              4    Falls, Idaho, commencing at the hour of 9:00 a.m. on

 5              5    March 27th, 2019, before Janet French, Certified

 6              6    Shorthand Reporter and Notary Public within and for

 7              7    the State of Idaho, in the above-entitled matter.

 8              8

 9              9                          APPEARANCES:

10             10    For the Plaintiff:

11             11         HAWLEY TROXELL ENNIS & HAWLEY, LLP

12             12         By:   Dane A. Bolinger

13             13         877 Main Street, Suite 1000

14             14         Post Office Box 1617

15             15         Boise, Idaho 83701-1617

16             16         dbolinger@hawleytroxell.com

17             17    For the Defendant:

18             18         STOEL RIVES, LLP

19             19         By:   Elijah M. Watkins

20             20               Anna E. Courtney

21             21         101 South Capitol Boulevard, Suite 1900

22             22         Boise, Idaho 83702

23             23         elijah.watkins@stoel.com

24             24    Also present:   Al Herrin - Videographer, Steven

25             25                    Schossberger, Jackie Franolich



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                                                                             18

 1   09:13:23    1           A.   Well, they called me the night production

 2   09:13:23    2    manager.

 3   09:13:23    3           Q.   Okay.

 4   09:13:26    4           A.   But I was basically a shift supervisor.

 5   09:13:31    5           Q.   Okay.   And how long were up at NorSun's

 6   09:13:34    6    before it sold out to Dickinson?

 7   09:13:34    7           A.   The entire time.

 8   09:13:35    8           MR. WATKINS:     Objection.   Foundation.

 9   09:13:37    9           THE WITNESS:    I'm sorry.

10   09:13:40   10           Q.   (BY MR. WATKINS)    You were at NorSun Foods,

11   09:13:44   11    and the NorSun Foods at some time changed ownership or

12   09:13:44   12    leadership?

13   09:13:44   13           A.   Correct.

14   09:13:47   14           Q.   Okay.   How long were you at NorSun Foods

15   09:13:49   15    before it changed ownership or leadership?

16   09:13:49   16           A.   I don't remember.

17   09:13:53   17           Q.   Okay.   Do you know when NorSun Foods --

18   09:13:54   18    strike that.

19   09:13:56   19                The name on the side of the building that

20   09:13:59   20    you work in, does it say NorSun Foods?

21   09:14:01   21           A.   Now?

22   09:14:02   22           Q.   Yes.

23   09:14:02   23           A.   No.

24   09:14:05   24           Q.   What does it say on the side of building

25   09:14:06   25    now?



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                                                                            19

 1   09:14:07    1         A.   Dickinson.

 2   09:14:09    2         Q.   When did that sign go up?

 3   09:14:10    3         A.   I do not remember.

 4   09:14:13    4         Q.   Today do you consider yourself to be a

 5   09:14:17    5    NorSun Food's employee or a Dickinson Foods' employee?

 6   09:14:17    6         A.   Dickinson.

 7   09:14:18    7         Q.   Okay.   What did you do when you first

 8   09:14:21    8    started at Idaho in 2000?    You said you were the night

 9   09:14:22    9    shift supervisor?

10   09:14:25   10         A.   They called me the night production manager.

11   09:14:27   11         Q.   Night production manager.    Which was what?

12   09:14:28   12         A.   Shift supervisor.

13   09:14:31   13         Q.   Okay.   Okay.   And how long were you the

14   09:14:32   14    night production manager?

15   09:14:45   15         A.   Oh, I was -- I know I was -- I took over the

16   09:14:47   16    maintenance department in 2010.

17   09:14:48   17         Q.   Okay.

18   09:14:50   18         A.   So it would have been ten years.

19   09:14:51   19         Q.   2000 to 2010?

20   09:14:52   20         A.   (Witness nodding head.)

21   09:14:56   21         Q.   Okay.   And when you took over the

22   09:14:59   22    maintenance department as the maintenance department

23   09:15:06   23    manager, was -- were you then at Dickinson or was it

24   09:15:07   24    still NorSun Food's in 2010?

25   09:15:16   25         A.   I don't remember.



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                                                                          20

 1   09:15:19    1         Q.   Okay.   So you've been the maintenance

 2   09:15:21    2    department manager from 2010 to present?

 3   09:15:21    3         A.   Yes.

 4   09:15:24    4         Q.   And what does that do?    What's that role?

 5   09:15:30    5         A.   Boy, it's multifaceted.    It goes all the way

 6   09:15:36    6    from babysitter to project manager, whatever I'm asked

 7   09:15:38    7    to do as far as mechanical at the plant.

 8   09:15:40    8         Q.   Okay.

 9   09:15:41    9         A.   Manage the department.

10   09:15:44   10         Q.   Okay.   How many employees are in that

11   09:15:46   11    department?

12   09:15:48   12         A.   Well, it was never fully staffed --

13   09:15:49   13         Q.   Okay.

14   09:15:54   14         A.   -- because people come and go all the time.

15   09:15:56   15    I'm going to say roughly 15 --

16   09:15:57   16         Q.   Okay.

17   09:15:59   17         A.   -- on all -- covering all three shifts.

18   09:16:02   18         Q.   When you say "it was never fully staffed,"

19   09:16:07   19    what would a fully staff crew look like?    How many

20   09:16:09   20    people should there be?

21   09:16:12   21         A.   I was allowed to have -- I was budgeted five

22   09:16:16   22    per shift, plus I have my maintenance superintendent,

23   09:16:18   23    which is Daren Hiner, and then my maintenance planner,

24   09:16:22   24    which is Floyd Turnbell; so there is 17, 18 counting

25   09:16:23   25    myself.



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                                                                            21

 1   09:16:24    1         Q.     Okay.   And on average, how many do you have

 2   09:16:26    2    in that department?

 3   09:16:34    3         A.     Oh, probably eight to ten.

 4   09:16:39    4         Q.     And we are going to dig in more specifically

 5   09:16:42    5    to when the FPS freezer was installed.

 6   09:16:43    6         A.     Okay.

 7   09:16:46    7         Q.     But during that time period, which my

 8   09:16:50    8    understanding was beginning roughly in July 2016 to

 9   09:16:56    9    roughly November -- I'm sorry -- roughly January of

10   09:17:02   10    2018, approximately how many people were in the

11   09:17:06   11    maintenance department for that time period?

12   09:17:10   12         A.     It -- it changed.    You never knew.   I mean,

13   09:17:15   13    you'd have guys they would say "I'm done.      I quit" and

14   09:17:17   14    walk out.    So I would say on the average maybe,

15   09:17:21   15    including myself, nine.

16   09:17:21   16         Q.     Okay.

17   09:17:24   17         A.     That's also including Daren and Floyd.

18   09:17:30   18         Q.     With a department that is supposed to have

19   09:17:35   19    fully staffed 18 people, you have 9 on average, does

20   09:17:38   20    that impact your ability to address maintenance issues

21   09:17:41   21    at times just from a capacity or manpower standpoint?

22   09:17:43   22         MR. BOLINGER:     Objection to the characterization.

23   09:17:48   23    Misstates prior testimony.      Assumes facts not yet in

24   09:17:50   24    evidence.    Calls for speculation.

25   09:17:52   25         MR. WATKINS:     You can go ahead and answer.



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                                                                           22

 1   09:17:55    1         THE WITNESS:    Yeah, I don't want to speculate.

 2   09:17:57    2         Q.     (BY MR. WATKINS)   Have you ever felt that

 3   09:18:00    3    you were unable -- either you yourself or folks in

 4   09:18:03    4    your department were unable to get to a job as quickly

 5   09:18:06    5    as you felt you should have been able to?

 6   09:18:08    6         MR. BOLINGER:    Objection.   Foundation.   Vague.

 7   09:18:09    7    Calls for speculation.

 8   09:18:11    8         THE WITNESS:    I don't want to speculate.

 9   09:18:12    9         Q.     (BY MR. WATKINS)   So I'm not asking you to

10   09:18:15   10    guess.    I'm asking as the department manager for the

11   09:18:21   11    last nine years what your experience is?

12   09:18:24   12         MR. BOLINGER:    Objection.   Foundation.   Vague.

13   09:18:26   13         MR. WATKINS:    You can go ahead and answer

14   09:18:28   14         THE WITNESS:    What my -- can you repeat the

15   09:18:29   15    question?

16   09:18:32   16         Q.     (BY MR. WATKINS)   Sure.   Based off of your

17   09:18:35   17    experience as someone who has been in this industry

18   09:18:39   18    from 1973 to present and someone who has been the

19   09:18:41   19    maintenance department manager for going on nine years

20   09:18:48   20    now, have you seen instances where you believed your

21   09:18:51   21    department should have been able to address an issue

22   09:18:55   22    sooner but were unable to get to it as soon as you

23   09:18:58   23    would like because you don't have enough staff or your

24   09:19:00   24    staff isn't fully there?

25   09:19:04   25         A.     No.



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 1   10:38:50    1    in temp, it could affect the throughput," what did you

 2   10:38:52    2    understand that to mean?

 3   10:38:56    3         MR. BOLINGER:    The same objection.    The document

 4   10:38:58    4    speaks for itself.

 5   10:39:06    5         THE WITNESS:    I would say that if it is a higher

 6   10:39:10    6    temp, you would have to slow things down to freeze it.

 7   10:39:11    7         Q.   (BY MR. WATKINS)    You understood that

 8   10:39:15    8    temperature could impact throughput?

 9   10:39:15    9         A.   Yes.

10   10:39:17   10         Q.   Okay.    Sergio then responds to

11   10:39:22   11    Mr. Castaneda -- I'm sorry -- to Mr. Campbell, and he

12   10:39:26   12    says "It looks good to me.    The temperature after the

13   10:39:28   13    Dynovac is under 130."

14   10:39:32   14              Did you agree with Mr. Castaneda's

15   10:39:35   15    assessment that the temperature after the Dynovac

16   10:39:38   16    would be 130 degrees?

17   10:39:40   17         MR. BOLINGER:    Objection.   The document speaks

18   10:39:42   18    for itself.   Calls for speculation.

19   10:39:44   19         THE WITNESS:    Yeah, and I'm not going to

20   10:39:45   20    speculate on that.

21   10:39:46   21         Q.   (BY MR. WATKINS)    Again, I'm not asking you

22   10:39:49   22    to speculate.    I'm asking whether you agreed with

23   10:39:55   23    Mr. Castaneda.    I'm not asking you to speculate.    I'm

24   10:39:58   24    asking you to tell me what your thought is.

25   10:39:59   25         MR. BOLINGER:    Objection.   Foundation.   Are you



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 1   10:40:02    1    talking about the time he received this document?

 2   10:40:04    2         MR. WATKINS:   Let me ask the question again so we

 3   10:40:05    3    have a clear record.

 4   10:40:06    4         Q.   (BY MR. WATKINS)    Mr. Castaneda in March of

 5   10:40:12    5    2016 emailed Mr. Campbell.    Mr. Castaneda says     "It

 6   10:40:15    6    looks good to me, the temperature after the Dynovac is

 7   10:40:18    7    under 130 degrees."

 8   10:40:22    8              Did you agree at this time with what

 9   10:40:24    9    Mr. Castaneda said?

10   10:40:28   10         A.   I can't say I agreed at this time -- at

11   10:40:32   11    9:42:49 a.m.   I can't say I agreed with him at that

12   10:40:36   12    time.   But I actually went out and temped the product

13   10:40:40   13    before the tunnel myself, and it was at 120.

14   10:40:43   14         Q.   Okay.   So as you sit here today in your

15   10:40:46   15    deposition, you agree that the temperature entering

16   10:40:49   16    the tunnel was under 130 degrees; correct?

17   10:40:49   17         A.   Yes.

18   10:40:53   18         Q.   Okay.   And you said that you went and temped

19   10:40:54   19    the product yourself?

20   10:40:54   20         A.   Yes.

21   10:40:55   21         Q.   How did you do that?

22   10:40:59   22         A.   With an infrared temperature gun.

23   10:41:01   23         Q.   Okay.   And when did you do that?

24   10:41:01   24         A.   I don't remember.

25   10:41:02   25         Q.   Sometime --



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 1   10:41:03    1         A.     After.

 2   10:41:04    2         Q.     -- in or around March of 2016?

 3   10:41:05    3         A.     Yes.

 4   10:41:06    4         Q.     "Yes"?

 5   10:41:08    5         A.     I'm sorry.    Yes.

 6   10:41:11    6         Q.     Where in the line did you take that reading?

 7   10:41:14    7         A.     It would have been right after the Dynovac.

 8   10:41:15    8         Q.     Okay.    And my understanding is that the

 9   10:41:21    9    Dynovac is a system that sucks moisture off of a

10   10:41:22   10    product?

11   10:41:22   11         A.     Yes.

12   10:41:24   12         Q.     Okay.    And so right after the Dynovac, you

13   10:41:26   13    took a reading and you said it was --

14   10:41:28   14         A.     120 degrees.

15   10:41:30   15         Q.     -- 120 degrees.

16   10:41:35   16                Did you take any readings after the oven?

17   10:41:35   17         A.     No.

18   10:41:45   18         Q.     Okay.    Did you take any readings for whole

19   10:41:46   19    roasted potatoes?

20   10:41:47   20         A.     No.

21   10:41:50   21         Q.     Did you take any readings for cubed -- or

22   10:41:52   22    excuse me -- for wedged potatoes?

23   10:41:53   23         A.     No.

24   10:41:54   24         Q.     Did you take any readings for diced

25   10:41:55   25    potatoes?



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 1   10:41:56    1         A.     Yes.

 2   10:41:58    2         Q.     Did you take any readings for shredded

 3   10:41:59    3    potatoes?

 4   10:41:59    4         A.     No.

 5   10:42:03    5         Q.     So your reading of under 120 degrees was for

 6   10:42:04    6    diced potatoes?

 7   10:42:04    7         A.     Yeah.

 8   10:42:07    8         Q.     Did you take any readings -- temperature

 9   10:42:08    9    readings for any other product?

10   10:42:09   10         A.     No.

11   10:42:13   11         Q.     Okay.   Did you ever respond to this email

12   10:42:15   12    from Mr. Campbell?

13   10:42:25   13         A.     No.

14   10:42:27   14         Q.     I'm going to hand you what will be marked as

15   10:42:29   15    Exhibit 144.

16   10:42:50   16                (Exhibit 144 marked.)

17   10:42:52   17         THE WITNESS:     Do you want this back?

18   10:42:53   18         THE COURT REPORTER:      Just put it down.

19   10:42:53   19         THE WITNESS:     Okay.

20   10:42:56   20         Q.     (BY MR. WATKINS)    So this is an email --

21   10:43:02   21    March 2016 email originally from Eric York at Kemper.

22   10:43:06   22    It goes on to Justin Lai and eventually to yourself,

23   10:43:08   23    and you respond on it.

24   10:43:10   24                In the email from Justin Lai, dated March 2,

25   10:43:16   25    2016, to Eric York in which you are cc'd -- the email



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                                                                           90

 1   10:43:19    1    at the bottom of the first page -- yes, that one.

 2   10:43:20    2         A.    Okay.

 3   10:43:23    3         Q.    He's talking about the tonnage and the

 4   10:43:29    4    temperature and then the third sentence in he says "My

 5   10:43:33    5    data was" -- this is Mr. Lai talking.     "My data from

 6   10:43:37    6    the visit was based on the shredded product, but the

 7   10:43:41    7    larger cubes will retain more heat prior to entering

 8   10:43:43    8    the freezer."

 9   10:43:44    9               Did I read that correctly?

10   10:43:44   10         A.    Yes.

11   10:43:46   11         Q.    Do you agree with Mr. Lai's assessment that

12   10:43:50   12    larger items will retain more heat prior to entering

13   10:43:51   13    the freezer?

14   10:43:53   14         MR. BOLINGER:    Objection.   Foundation.   Calls for

15   10:43:56   15    opinion testimony.    Calls for speculation.

16   10:44:00   16         THE WITNESS:    I -- I don't agree with it.

17   10:44:02   17         Q.    (BY MR. WATKINS)   Okay.   What do you

18   10:44:03   18    disagree with?

19   10:44:08   19         A.    Well, for example, shreds lay on top of each

20   10:44:13   20    other and create a blanket basically, and you can't

21   10:44:16   21    get air through it.    That's why we had to have

22   10:44:19   22    thumpers put in.

23   10:44:20   23         Q.    Okay.

24   10:44:26   24         A.    Dice have more air -- areas for air to get

25   10:44:26   25    through.



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 1   10:44:27    1         Q.   Okay.

 2   10:44:30    2         A.   So the shreds to me would maintain more heat

 3   10:44:32    3    throughout the system than diced would.

 4   10:44:33    4         Q.   Okay.

 5   10:44:36    5         A.   The larger the cuts, the more openings for

 6   10:44:39    6    air to go through and the faster heat can be

 7   10:44:39    7    dissipated.

 8   10:44:40    8         Q.   Okay.   So then do you understand that

 9   10:44:44    9    different cuts of potatoes are going to retain heat

10   10:44:44   10    differently?

11   10:44:45   11         A.   Yes.

12   10:44:47   12         Q.   Did you tell that to Mr. Lai?

13   10:44:49   13         A.   No.

14   10:44:53   14         Q.   In your email, you respond to Mr. York and

15   10:44:57   15    you say "Eric, I checked with Sergio this morning, and

16   10:44:59   16    he said that the product temp that will be going into

17   10:45:04   17    the new tunnel will be 120 to 125 degrees."

18   10:45:06   18              Did I read that correctly?

19   10:45:06   19         A.   Yes.

20   10:45:11   20         Q.   Was this email sent before or after you took

21   10:45:13   21    the readings with the --

22   10:45:14   22         A.   I don't remember.

23   10:45:21   23         Q.   Is there a reason why you wouldn't have told

24   10:45:28   24    Mr. York that you personally took readings?

25   10:45:29   25         MR. BOLINGER:   Objection.   Vague.   Argumentative.



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 1   11:05:17    1         Q.   Okay.

 2   11:05:20    2         A.   But the FPS freezer -- minimal damage to the

 3   11:05:21    3    tunnel to get it out.

 4   11:05:21    4         Q.   Okay.

 5   11:05:23    5         A.   So I needed people that knew what they were

 6   11:05:24    6    doing.

 7   11:05:26    7         Q.   Okay.   Okay.   How many sections did he cut

 8   11:05:28    8    the Cloudy Britton into?

 9   11:05:31    9         A.   Oh, my goodness.    Every wall came out as

10   11:05:35   10    one -- or every panel came out as one piece.

11   11:05:37   11         Q.   Took it apart bit by bit?

12   11:05:39   12         A.   Yeah.   Then he took torches to the framework

13   11:05:40   13    and -- I mean, it all just came out as garbage.

14   11:05:42   14         Q.   How long did it take them to remove the

15   11:05:45   15    Cloudy Britton?

16   11:05:48   16         A.   Two or three days.

17   11:05:51   17         Q.   Do you know how long Line B was down for the

18   11:05:53   18    removal -- strike that.

19   11:05:57   19              Did the FPS freezer go in right after or

20   11:06:00   20    shortly after the Cloudy Britton freezer was removed?

21   11:06:00   21         A.   Yes.

22   11:06:04   22         Q.   How long was Line B down from when the

23   11:06:08   23    Cloudy Britton freezer was dismantled and taken out to

24   11:06:10   24    the FPS freezer being put in and up and running?

25   11:06:13   25         A.   I don't remember the exact amount of time.



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 1   11:06:14    1          Q.    Was it more than a week?

 2   11:06:15    2          A.    I don't remember.

 3   11:06:26    3          Q.    Okay.   I'll hand you Exhibit 47 -- 147 --

 4   11:06:34    4    I'm sorry -- Exhibit 61, previously produced.

 5   11:06:36    5          A.    Do I hand it to her first?

 6   11:06:38    6          Q.    Nope.   This one has already been produced.

 7   11:06:42    7    It gets confusing, I know.      It confuses me too.

 8   11:06:44    8                This appears to be an email string between

 9   11:06:49    9    yourself and Mr. Campbell as well as Mr. Hu.      Mr. Hu

10   11:06:53   10    is asking for the compressed air supplies to the

11   11:06:55   11    control panel.

12   11:06:57   12                Do you recall that being an issue?

13   11:06:58   13          A.    I don't recall it.

14   11:07:01   14          Q.    Okay.

15   11:07:03   15          MR. BOLINGER:    Counsel, where are you referring

16   11:07:04   16    to?

17   11:07:07   17          MR. WATKINS:    If you go to the very last page,

18   11:07:10   18    DFF 001275.

19   11:07:13   19          Q.    (BY MR. WATKINS)    It says "Hi, Todd.    Will

20   11:07:15   20    you able to supply compressed air to our control

21   11:07:19   21    panel?     We would like to include a vortex cooler

22   11:07:23   22    inside the panel which requires compressed air.        I do

23   11:07:24   23    not have the exact requirements, but it is fairly

24   11:07:26   24    small.     Please advise.   Thanks."

25   11:07:29   25                 Emails go back and forth and eventually



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 1   11:07:34    1    this question gets to you on DFF 001273 concerning

 2   11:07:35    2    compressed air.

 3   11:07:40    3           A.   173 -- here.

 4   11:07:42    4           Q.   And if you look at your email at the bottom

 5   11:07:46    5    of that page, it's June 28, 2016.      You say "Todd, is

 6   11:07:50    6    this panel at the tunnel or the panel compressor room?

 7   11:07:52    7    We have air at the tunnel but not to the compressor

 8   11:07:56    8    room.    We would have to run a line there and then we

 9   11:08:01    9    cannot guarantee 140 CFM and 90 PSI."

10   11:08:05   10                Why is that you couldn't guarantee 140 CFM

11   11:08:07   11    and 90 PSI?

12   11:08:11   12           A.   Just because of line loss and all of the

13   11:08:11   13    other equipment in the plant using air.

14   11:08:12   14           Q.   What's line loss?

15   11:08:15   15           A.   Line restrictions.    Every time you go

16   11:08:17   16    through a pipe you are losing some.

17   11:08:17   17           Q.   Okay.

18   11:08:18   18           A.   If you go around a corner, you are losing

19   11:08:22   19    some.    If you've got any small leaks, you are losing

20   11:08:26   20    air.    So I can't guarantee 140 and 90 PSI.

21   11:08:28   21           Q.   Okay.   Okay.   "He started out with a vortex

22   11:08:31   22    cooler with a fairly small requirement.      Now we are up

23   11:08:36   23    to two vortex coolers and a requirement of 140 CFM at

24   11:08:38   24    90 PSI."

25   11:08:39   25                As I go back and look through these other



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 1   11:08:43    1    emails -- oh, strike that.    Never mind.   Sorry.

 2   11:08:49    2               "Our air compressor currently runs at 100

 3   11:08:54    3    percent all of the time delivering 90 to 100 PSI at

 4   11:08:57    4    the compressor, but with everything that runs on air

 5   11:09:02    5    and the pressure losses we have, we only get 60 to 70

 6   11:09:03    6    PSI in the plant."

 7   11:09:08    7               Did you ever -- did FPS -- did Dickinson

 8   11:09:13    8    ever replace their compressors so they could have full

 9   11:09:17    9    PSI in the plant or full capacity?

10   11:09:19   10         A.    No, they never replaced the air compressor.

11   11:09:22   11         Q.    Do you know why?

12   11:09:23   12         A.    No.

13   11:09:25   13         Q.    Did you ask?

14   11:09:28   14         A.    I wanted to get a newer and bigger

15   11:09:31   15    compressor, but the one we had was running fine.

16   11:09:34   16    Everything we were running on was running fine so it

17   11:09:35   17    never happened.

18   11:09:37   18         Q.    Who did you ask that to?

19   11:09:38   19         A.    Sergio.

20   11:09:40   20         Q.    To this day, do you still have the same air

21   11:09:42   21    compressor?

22   11:09:42   22         A.    Yes.

23   11:09:45   23         Q.    You then say "They may need" -- they, and I

24   11:09:48   24    think you are referring to FPS, but correct me if I'm

25   11:09:51   25    wrong.    "They may need to downsize their coolers or



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 1   11:09:54    1    add another air compressor to the cap X."

 2   11:09:56    2              Do you know if -- were you referring to FPS

 3   11:09:59    3    right there needing to downsize their coolers?

 4   11:10:00    4         A.   I believe so.

 5   11:10:04    5         Q.   Do you know if FPS did ultimately downsize

 6   11:10:07    6    their coolers based on what you were saying?

 7   11:10:08    7         A.   I do not know.

 8   11:10:15    8         Q.   Okay.   Then if you just go to page 1272 and

 9   11:10:19    9    it's -- the email starts on the other page, but I'm

10   11:10:22   10    talking about the information bleeding onto the

11   11:10:22   11    second.

12   11:10:26   12              Mr. Hu, at the bottom of 1272, asks what the

13   11:10:31   13    ambient air temperature is in the plant.    You make

14   11:10:35   14    various assumptions.   There is three assumptions you

15   11:10:37   15    make above that, and then you say "Based on these

16   11:10:40   16    three assumptions, the ambient temperature of the

17   11:10:45   17    Cloudy room without the leaking Cloudy cooling it down

18   11:10:48   18    would be anywhere from 40 degrees in the wintertime to

19   11:10:53   19    80 degrees in the hottest part of the summertime."

20   11:10:54   20              Is that -- was that your experience that

21   11:10:56   21    there was a 40 degree swing in the temperature inside

22   11:10:59   22    the Dickinson plant around the freezer?

23   11:11:02   23         A.   An actual 40 degree temperature change, no.

24   11:11:04   24         Q.   Okay.   How much was the temperature change?

25   11:11:08   25         A.   I don't know.    It was roughly within those



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 1   11:11:11    1    areas.    The building is a tin building.

 2   11:11:12    2         Q.     A what?

 3   11:11:15    3         A.     A tin building.    So when it's hot outside,

 4   11:11:19    4    it gets hot inside.    When it's cold outside, it gets

 5   11:11:25    5    cold inside.    The oven room would create heat that

 6   11:11:27    6    would go into the Cloudy room.      The Cloudy room is

 7   11:11:30    7    leaking; so the temperature could be anywheres from 40

 8   11:11:31    8    to 80 degrees.    It's --

 9   11:11:34    9         Q.     Just depending on the outside weather?

10   11:11:36   10         A.     Outside weather and how many ovens were

11   11:11:40   11    running, if we were running both ovens, just one.

12   11:11:42   12    There is a lot of factors in there.

13   11:11:45   13         Q.     Did you see similar temperature swings in

14   11:11:48   14    the packaging room?

15   11:11:51   15         A.     Yes, we did.    Because we had roll up

16   11:11:56   16    doors -- we had bi-fold doors going from the oven room

17   11:12:00   17    to the packaging room, and I replaced those with roll

18   11:12:03   18    up doors.    We had a sliding door going from packaging

19   11:12:06   19    to freezer storage.    I replaced that with a roll up

20   11:12:08   20    door trying to keep packaging cooler.

21   11:12:10   21         Q.     Why did you -- why did you replace the

22   11:12:11   22    sliding doors with roll up doors?

23   11:12:14   23         A.     Because they were old and worn out too, and

24   11:12:19   24    they just weren't sealing the way a roll up door does.

25   11:12:21   25         Q.     When did you replace those doors?



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 1   11:33:41    1         A.    To the P&IDs.

 2   11:33:45    2         Q.    So your understanding -- he's sending you a

 3   11:33:48    3    document and saying "I need to change what's on this

 4   11:33:48    4    document"?

 5   11:33:48    5         A.    Correct.

 6   11:33:49    6         Q.    Understood.

 7   11:33:54    7         A.    Yeah, because you can't get an accurate P&ID

 8   11:33:57    8    until all work is completed.     Then they come out, and

 9   11:33:59    9    they look at it and they go, "Okay.     That line is

10   11:34:02   10    there.    That valve is there.   That gauge is there."

11   11:34:04   11    And then put it on the P&IDs.

12   11:34:08   12         Q.    So where he says "I will need to make a

13   11:34:11   13    visit to do as-built drawings for the system," he's

14   11:34:12   14    coming to verify where things are?

15   11:34:15   15         A.    Correct.    The as-built drawings are going to

16   11:34:15   16    wind up being the --

17   11:34:18   17         Q.    The final P&ID?

18   11:34:19   18         A.    Yes.

19   11:34:21   19         Q.    Okay.    That makes sense.

20   11:34:24   20               I'll hand you Exhibit 150.

21   11:34:25   21               (Exhibit 150 marked.)

22   11:34:45   22         Q.    (BY MR. WATKINS)    So this is an email

23   11:34:52   23    string.   Right now I'm focusing just on page FPS

24   11:34:59   24    057285.   There is an email from you to Danny Hu.

25   11:35:00   25         A.    Right.



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 1   11:35:04    1         Q.    Now, you mentioned the UHMW issue earlier.

 2   11:35:08    2    You say "Danny, the reason we need to change to blue

 3   11:35:13    3    is because the tunnel chains are shaving the UHMW

 4   11:35:15    4    off," and you go on to explain that when the plastic

 5   11:35:18    5    is white, you can't see it in the shredded potatoes.

 6   11:35:18    6         A.    Correct.

 7   11:35:21    7         Q.    Can you describe what was happening in this

 8   11:35:23    8    situation and how it was that you came to discover it.

 9   11:35:25    9         A.    We were getting ice buildup on the rails

10   11:35:30   10    that the mesh chain ran on.   And as the ice built up,

11   11:35:33   11    the chain lifted up.   And as the chain lifted up, the

12   11:35:38   12    side legs started scraping off the UHMW.

13   11:35:38   13         Q.    Okay.

14   11:35:40   14         A.    And we would get slivers of plastic

15   11:35:45   15    basically.   UHMW is an ultra high -- ultra high

16   11:35:47   16    molecular weight.

17   11:35:47   17         Q.    Okay.

18   11:35:51   18         A.    So it's a plastic, but it's a special

19   11:35:56   19    plastic.   But it will shave and sliver.

20   11:35:58   20         Q.    Okay.

21   11:36:00   21         A.    And as the chain lifted up, it pressed

22   11:36:03   22    against that and these chain links would shave off

23   11:36:05   23    UHMW.

24   11:36:11   24         Q.    Did FPS ultimately replace the UHMW with

25   11:36:17   25    blue UHMW as you requested?



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 1   11:36:19    1           A.   You know, I can't remember if they did or

 2   11:36:31    2    not.    I can't remember.

 3   11:36:36    3           Q.   Was the -- whether they did not or not, was

 4   11:36:39    4    the issue ever ultimately resolved?       Did you continue

 5   11:36:42    5    to get shavings in the product, or did that ever get

 6   11:36:43    6    resolved somehow?

 7   11:36:47    7           A.   I believe it got resolved because we had

 8   11:36:50    8    started doing more cleanups to keep the ice down.

 9   11:36:50    9           Q.   Okay.

10   11:36:53   10           A.   Which lowered the chain and kept it from

11   11:36:53   11    scraping it off.

12   11:36:59   12           Q.   But you don't know whether or not the UHMW

13   11:37:00   13    was ever replaced?

14   11:37:01   14           A.   No, I don't remember.

15   11:37:11   15           Q.   Okay.    If you look at FPS 57284, it says --

16   11:37:16   16    this is at the bottom, an email from Danny Hu to

17   11:37:18   17    yourself and Sergio.

18   11:37:19   18           A.   At the bottom?

19   11:37:20   19           Q.   Yes.

20   11:37:21   20           A.   It's not to me.

21   11:37:25   21           Q.   I'm sorry.    I misspoke.   Between Mr. Hu,

22   11:37:27   22    Sergio, and Todd Campbell.

23   11:37:27   23           A.   Right.

24   11:37:31   24           Q.   "Sergio/Todd, the blow issue was brought to

25   11:37:34   25    our attention by Bob Rebmann.      At this point I believe



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 1   11:37:38    1    we should be in agreement the ice buildup issue has

 2   11:37:40    2    been resolved.     We had seen" -- "we had not seen ice

 3   11:37:43    3    buildup like that before under the belt chain, and

 4   11:37:46    4    based on Andrew's findings, we believe the main

 5   11:37:49    5    contributor of this to be the spraying of water into

 6   11:37:51    6    the tunnel during breaks/defrost by the

 7   11:37:55    7    operator/sanitation crew rather than the use of the

 8   11:37:59    8    steam from the steam box to clean the belt."

 9   11:38:03    9                Do you -- did you ever witness people from

10   11:38:06   10    the sanitation department or some other department

11   11:38:08   11    spraying water at the FPS freezer?

12   11:38:10   12         A.     No.

13   11:38:13   13         Q.     Do you know whether or not that occurred?

14   11:38:20   14         A.     No.

15   11:38:25   15         Q.     If you flip to the first page, Mr. Campbell

16   11:38:29   16    sends an email to Danny, as well as Sergio, and he

17   11:38:31   17    says, "Sergio, are you seeing ice buildup in the

18   11:38:35   18    freezer?    If so, what amounts?   How long does it take

19   11:38:38   19    to build.    Are any of your guys spraying water on the

20   11:38:42   20    freezer belt?     Let's complete this issue once and for

21   11:38:44   21    all so we can focus on the other issues."

22   11:38:49   22                Do you know if in or around October 14,

23   11:38:52   23    2016, ice was still being built up on the freezer?

24   11:38:53   24         A.     I do not know.

25   11:38:55   25         Q.     You don't know.   Do you know how long ice



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 1   11:38:59    1    buildup was an issue with the FPS freezer?

 2   11:39:05    2           A.   Exact date, no.

 3   11:39:08    3           Q.   Would there be maintenance logs where the

 4   11:39:10    4    maintenance department was asked to address ice

 5   11:39:12    5    buildup issues on the freezer?

 6   11:39:12    6           A.   No.

 7   11:39:14    7           Q.   There would not be?

 8   11:39:15    8           A.   No.

 9   11:39:17    9           Q.   Who --

10   11:39:19   10           A.   Not the ice buildup but the result of it.

11   11:39:22   11           Q.   Okay.    So there should be maintenance logs

12   11:39:25   12    addressing the UHMW issue?

13   11:39:28   13           A.   Sure.    Broken links, chains being replaced,

14   11:39:28   14    yes.

15   11:39:30   15           Q.   Okay.    As you sit here today, do you know

16   11:39:35   16    when, if ever, those broken link and UHMW issues were

17   11:39:39   17    resolved?

18   11:39:41   18           A.   Repeat that.

19   11:39:45   19           Q.   Sure.    As of today, do you have any

20   11:39:51   20    understanding or do you know if those UHMW issues and

21   11:39:55   21    chain link issues were ever resolved, and if they

22   11:39:56   22    were, when?

23   11:40:01   23           A.   They -- as far as resolved, it -- the issue

24   11:40:06   24    causing the problem wasn't resolved.      The damage was

25   11:40:11   25    resolved each time.      In other words, we'd have broken



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 1   11:40:14    1    links we would have to repair or a chain that we had

 2   11:40:16    2    to replace.    We did that and then they would run

 3   11:40:19    3    again, and then sooner or later we would be back there

 4   11:40:21    4    with broken links again.

 5   11:40:26    5         Q.   So is it your testimony that up until the

 6   11:40:29    6    day or around the time that the FPS freezer was

 7   11:40:35    7    removed there was consistent replacement of the UHMW

 8   11:40:39    8    and consistent replacement of chains because links

 9   11:40:42    9    were getting in the food product?

10   11:40:43   10         MR. BOLINGER:    Objection.    Mischaracterizes prior

11   11:40:45   11    testimony.

12   11:40:46   12         THE WITNESS:    Yes.

13   11:40:47   13         Q.   (BY MR. WATKINS)      Okay.   And there should be

14   11:40:52   14    logs -- maintenance logs showing that there were

15   11:40:55   15    constant work orders or fixes for broken links and

16   11:41:00   16    UHMW up until the point that FPS freezer was removed?

17   11:41:03   17         A.   There are several log entries throughout the

18   11:41:09   18    course of the tunnel being there of this issue.

19   11:41:11   19    Whether it was right up until the time it was removed,

20   11:41:14   20    I can't be sure right now.

21   11:41:16   21         Q.   Okay.    Okay.    And that's what I'm trying to

22   11:41:19   22    determine.    Because these emails are in October -- my

23   11:41:21   23    understanding is the freezer was installed in July of

24   11:41:25   24    2016.   These emails are just a couple months later in

25   11:41:29   25    October of 2016.    And I want to know is did this



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 2   11:47:02    2    decision not to run both of them?

 3   11:47:06    3         A.    It would have been a group; Sergio, myself,

 4   11:47:07    4    and Daren.

 5   11:47:12    5         Q.    Okay.   And walk me through how that decision

 6   11:47:13    6    is made.

 7   11:47:15    7         A.    Well, this was prior to the 500 being

 8   11:47:20    8    rebuilt.   So it was introducing oil into the system at

 9   11:47:23    9    a higher rate than it should have.    So we were

10   11:47:29   10    constantly draining oil, and they still weren't

11   11:47:32   11    getting the minus 40 at the tunnel.    It wasn't making

12   11:47:38   12    any notable changes; so why run it?

13   11:47:39   13         Q.    Okay.

14   11:47:42   14         A.    So we didn't.   We shut it off.

15   11:47:45   15         Q.    And any idea on about when you had that

16   11:47:45   16    conversation?

17   11:47:45   17         A.    No.

18   11:47:47   18         Q.    Would that have been kind of an in-person

19   11:47:47   19    meeting?

20   11:47:49   20         A.    Yeah, more than likely.

21   11:47:51   21         Q.    All right.   Would that have been during that

22   11:47:54   22    8:15 a.m. meeting or some other time?

23   11:47:55   23         A.    It could have been both.

24   11:47:56   24         Q.    Okay.

25   11:47:59   25         A.    I mean, it's really informal there.



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 1   11:47:59    1         Q.    Sure.

 2   11:48:02    2         A.    I mean, we bump into each other; we talk.

 3   11:48:03    3         Q.    Sure.

 4   11:48:05    4         A.    The only thing standard is that 8:15

 5   11:48:08    5    meeting.   You better be at that meeting.

 6   11:48:08    6         Q.    Okay.   Okay.

 7   11:48:10    7         A.    Whether there is anything to talk about or

 8   11:48:11    8    not, you better be at that meeting.

 9   11:48:15    9         Q.    I don't suppose you took any notes or

10   11:48:16   10    anything during this exchange about whether to turn

11   11:48:17   11    the second compressor off?

12   11:48:20   12         A.    No.   No.   He would have said, "Shut it off,"

13   11:48:22   13    and I would go, "Okay."

14   11:48:24   14         Q.    You talk about the second compressor

15   11:48:25   15    introducing a lot of oil.

16   11:48:26   16               What's that about?

17   11:48:28   17         A.    All compressor have seals in them.    Now, all

18   11:48:32   18    compressors carry some oil over into the system.

19   11:48:32   19         Q.    Okay.

20   11:48:34   20         A.    The older they get, the bigger the

21   11:48:36   21    tolerances get.    The bigger the tolerances get, the

22   11:48:38   22    more oil gets past.

23   11:48:40   23         Q.    I'm sorry.    Did you saying the bigger the

24   11:48:40   24    tolerances?

25   11:48:44   25         A.    Tolerances and seals and whatnot.    And you



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 1   11:48:46    1    end up having to drain more oil constantly and that

 2   11:48:49    2    can almost be a full-time job if something is too wore

 3   11:48:52    3    out, and that 500 needed to be rebuilt.

 4   11:48:55    4         Q.   Okay.    When did the 500 go online for the

 5   11:48:58    5    second time once you put the old system in?

 6   11:48:59    6         A.   I don't remember the date.

 7   11:49:01    7         Q.   Sometime after October of 2016 --

 8   11:49:02    8         A.   Yes.

 9   11:49:05    9         Q.   -- based off this email?

10   11:49:09   10              So at some point after October 2016 the old

11   11:49:13   11    500 goes on line, and it starts introducing excess oil

12   11:49:13   12    into the system?

13   11:49:13   13         A.   Yes.

14   11:49:16   14         Q.   Do you know if the introduction of excess

15   11:49:19   15    oil in the system had any negative impact on of the

16   11:49:22   16    ammonia refrigeration system or the FPS freezer?

17   11:49:22   17         A.   Yes.

18   11:49:23   18         Q.   What's that?

19   11:49:26   19         A.   It would start plugging up strainers.

20   11:49:26   20         Q.   Okay.

21   11:49:28   21         A.   And you'd have to go up and actually shut a

22   11:49:31   22    zone off and pull the strainer out, clean it out and

23   11:49:32   23    put it back in.

24   11:49:36   24         Q.   And how did that impact production or

25   11:49:36   25    throughput?



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 1   11:49:38    1         A.    You can't pass hot gas for defrost.

 2   11:49:39    2         Q.    Okay.    So you couldn't defrost the system

 3   11:49:40    3    because it was getting clogged up?

 4   11:49:44    4         A.    You could but not -- not like if it was

 5   11:49:45    5    perfectly clean.

 6   11:49:46    6         Q.    Okay.

 7   11:49:49    7         A.    I mean, it depends on how much oil is in

 8   11:49:51    8    there, how plugged off the screen and strainer is.

 9   11:49:55    9         Q.    Okay.    Okay.   Who was responsible -- well,

10   11:49:59   10    first off, who owned this compressor -- the 500 old

11   11:50:00   11    compressor?

12   11:50:04   12         A.    I would guess that Dickinson did because of

13   11:50:05   13    its age.

14   11:50:08   14         Q.    Okay.    And who was responsible for bringing

15   11:50:12   15    it back on line?     Whose choice was it to put it back

16   11:50:13   16    in the system?     Do you know?

17   11:50:14   17         A.    I do not know.

18   11:50:18   18         Q.    Who serviced that old compressor?

19   11:50:19   19         A.    As far as repairing on it?

20   11:50:20   20         Q.    Yes, sir.

21   11:50:21   21         A.    That would be Kemper.

22   11:50:24   22         Q.    Okay.    Did FPS have anything to do with the

23   11:50:25   23    old compressor?

24   11:50:26   24         A.    No.

25   11:50:29   25         Q.    Did FPS have anything to do with the



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 1   11:50:31    1    strainers associated with the old compressor?

 2   11:50:32    2         A.    No.

 3   11:50:34    3         Q.    Similar question.     Did FPS have anything to

 4   11:50:38    4    do with adding or taking away oil from the old

 5   11:50:39    5    compressor?

 6   11:50:39    6         A.    No.

 7   11:50:41    7         Q.    Okay.    If you look at the top email on

 8   11:50:46    8    Exhibit 121, it says "Yes, I need to know what power

 9   11:50:50    9    we do have.   Does Steve have anyone that can take the

10   11:50:55   10    reading sooner.     Frank said he will get a generator if

11   11:50:56   11    needed."

12   11:50:59   12               Mr. Rebmann, did you understand which Frank

13   11:51:02   13    Mr. Campbell was referring to?

14   11:51:02   14         A.    Yes.

15   11:51:03   15         Q.    Which Frank is that?

16   11:51:04   16         A.    Tiegs.

17   11:51:05   17         Q.    Frank Tiegs?

18   11:51:05   18         A.    Yes.

19   11:51:06   19         Q.    Does he own Dickinson?

20   11:51:07   20         A.    I don't know.

21   11:51:11   21         Q.    Okay.    Do you see him as your boss?

22   11:51:13   22         A.    No.    Sergio is my boss.

23   11:51:14   23         Q.    Okay.    Okay.   Do you know if Mr. Tiegs

24   11:51:16   24    ultimately purchased a generator?

25   11:51:20   25         A.    I do not know -- oh, no.     We didn't have to



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 1   11:51:20    1    have one.

 2   11:51:28    2         Q.     Okay.   Why didn't -- rather than put the old

 3   11:51:31    3    compressor on line, why didn't Dickinson purchase a

 4   11:51:33    4    new 500 compressor, to the extent you know?

 5   11:51:34    5         MR. BOLINGER:      Objection.   Calls for speculation.

 6   11:51:35    6    Argumentative.

 7   11:51:38    7         THE WITNESS:     Yeah, I have no idea why.

 8   11:51:40    8         Q.     (BY MR. WATKINS)    Did you ever suggest, as

 9   11:51:44    9    the maintenance manager, that it would be desirable to

10   11:51:48   10    have a new 500 compressor as opposed to an old 500

11   11:51:50   11    horsepower compressor?

12   11:51:51   12         A.     No.

13   11:51:53   13         Q.     How come?

14   11:51:55   14         MR. BOLINGER:      Objection.   Calls for speculation.

15   11:51:56   15    Argumentative.

16   11:51:59   16         THE WITNESS:     Yeah, I'm not going to speculate.

17   11:52:00   17         Q.     (BY MR. WATKINS)    I'm not asking you to

18   11:52:03   18    speculate.    I'm asking --

19   11:52:04   19         MR. BOLINGER:      Yes, you are.   Objection.   Calls

20   11:52:04   20    for speculation.

21   11:52:07   21         Q.     (BY MR. WATKINS)    I'm not asking you to

22   11:52:09   22    speculate.    I'm asking for your opinion or your

23   11:52:13   23    insight as to why you chose to or not to do something.

24   11:52:17   24                Why did you choose not to ask for a new 500

25   11:52:19   25    horsepower compressor?



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 1   11:52:21    1          MR. BOLINGER:    Objection.   Foundation.   Calls for

 2   11:52:22    2    speculation.    Argumentative.

 3   11:52:31    3          THE WITNESS:    I would like you to spend two

 4   11:52:34    4    months working there and trying to get new equipment

 5   11:52:37    5    and then you would understand why I didn't push for

 6   11:52:43    6    it.   A rebuilt is just as good as a new one and

 7   11:52:43    7    cheaper.

 8   11:52:45    8          Q.   (BY MR. WATKINS)    Is it -- as part of your

 9   11:52:49    9    job, is it sometimes difficult to get new equipment?

10   11:52:49   10          A.   Yes.

11   11:52:54   11          Q.   I imagine every dollar spent on new

12   11:52:58   12    equipment is a dollar not made on profit on product?

13   11:52:58   13          A.   Okay.

14   11:53:00   14          MR. BOLINGER:    Objection.   Calls for speculation.

15   11:53:02   15          Q.   (BY MR. WATKINS)    As of October 2016, when

16   11:53:06   16    the new compressor was installed, do you know whether

17   11:53:12   17    or not the compressor package at FPS was capable of --

18   11:53:15   18    I'm sorry -- at Dickinson was capable of delivering

19   11:53:17   19    210 tons of refrigerant.

20   11:53:17   20          MR. BOLINGER:    Can I have that question read

21   11:53:17   21    back, please.

22   11:53:17   22                   (The question was read back.)

23   11:53:40   23          MR. BOLINGER:    Calls for -- objection.    Calls for

24   11:53:44   24    expert opinion testimony.     Calls for speculation.

25   11:53:46   25          THE WITNESS:    Yeah, I do not know.



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 1   11:53:48    1         Q.     (BY MR. WATKINS)    Do you know as of October

 2   11:53:52    2    2016 whether or not the compressor package at

 3   11:53:57    3    Dickinson was capable of providing negative 40 degrees

 4   11:54:00    4    Fahrenheit suction at the coils?

 5   11:54:01    5         A.     No.

 6   11:54:04    6         MR. BOLINGER:      Objection.   Calls for expert

 7   11:54:06    7    opinion testimony.      Calls for speculation.

 8   11:54:06    8         THE WITNESS:      No.

 9   11:54:08    9         Q.     (BY MR. WATKINS)    You mentioned that the

10   11:54:10   10    freezer needed to -- or I'm sorry -- that the 500

11   11:54:13   11    horsepower needed to be rebuilt?

12   11:54:13   12         A.     Yes.

13   11:54:19   13         Q.     What did you mean by that?     I know it's a

14   11:54:22   14    silly -- I'm sorry.      What -- what was wrong -- what

15   11:54:24   15    required -- what needed to be rebuilt?

16   11:54:28   16         A.     The seals needed to be replaced, any wearing

17   11:54:31   17    part -- worn parts inside the compressor that would

18   11:54:34   18    increase tolerances -- those things needed to be

19   11:54:38   19    replaced.    It's a rebuild, like you rebuild the engine

20   11:54:38   20    on the truck.

21   11:54:40   21         Q.     Okay.    And did the maintenance department

22   11:54:44   22    rebuild it or did Kemper rebuild it?

23   11:54:44   23         A.     No.    That would be Kemper.

24   11:54:47   24         MR. BOLINGER:      Counsel, it's getting close to

25   11:54:50   25    lunch.    My stomach is starting to grumble.



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 1   11:54:53    1         MR. WATKINS:    Can we go until 12:00?

 2   11:54:54    2         MR. BOLINGER:    Okay.

 3   11:54:56    3         Q.   (BY MR. WATKINS)    Did the 500 horsepower

 4   11:55:00    4    compressor get put back on line and then it was

 5   11:55:03    5    rebuilt, or was it rebuilt before it was put back on

 6   11:55:03    6    line?

 7   11:55:05    7         A.   Rebuilt before.

 8   11:55:08    8         Q.   Okay.   So as of October -- strike that.

 9   11:55:10    9              Sometime after October of 2016, it was

10   11:55:15   10    rebuilt and both the 500 and 700 horsepower were on

11   11:55:15   11    line?

12   11:55:15   12         A.   Yes.

13   11:55:22   13         Q.   Okay.   I'll hand you what's going to be

14   11:55:26   14    marked as Exhibit 151.

15   11:55:38   15              (Exhibit 151 marked.)

16   11:55:40   16         Q.   (BY MR. WATKINS)    This is continuing on

17   11:55:44   17    conversations with you and Mr. Rebmann concerning the

18   11:55:48   18    power to the 500 horsepower.    Mr. Campbell asks you

19   11:55:55   19    "Can you see if they can rebuild the starter?    It is

20   11:55:59   20    still at your" -- "it is still at your shop.    Russ

21   11:56:03   21    took a picture of it and all the copper was gone but

22   11:56:06   22    looked like the components were still inside the box."

23   11:56:12   23              What is the starter?

24   11:56:16   24         A.   How can I explain this?    When you energize,

25   11:56:21   25    there is a -- it's called a mag starter that pulls in



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 1   13:05:36    1         Q.   Okay.

 2   13:05:39    2         A.   And Mike was involved in that so he was the

 3   13:05:41    3    one that told me we had to get this started.

 4   13:05:44    4         Q.   Okay.   Why did Dickinson receive fines from

 5   13:05:45    5    OSHA?

 6   13:05:49    6         A.   They were small fines, like, extension cords

 7   13:05:55    7    plugged in wrong, valve caps missing, things like

 8   13:05:55    8    that.

 9   13:05:56    9         Q.   When was that?

10   13:05:57   10         A.   I don't remember the date.

11   13:06:01   11         Q.   Okay.   Are you aware if there was -- if

12   13:06:06   12    Dickinson ever received a fine for a leak of ammonia?

13   13:06:08   13         A.   No.

14   13:06:17   14         Q.   Has -- did Dickinson ever cite or alert

15   13:06:20   15    Dickinson to a potential violation as a result of an

16   13:06:21   16    ammonia leak?

17   13:06:23   17         A.   Not that I'm aware of.

18   13:06:29   18         Q.   Has anyone at Dickinson's facility ever been

19   13:06:32   19    hospitalized as a result of an ammonia leak?

20   13:06:34   20         A.   Not that I'm aware of.

21   13:06:37   21         Q.   So in your email -- I'm sorry.    In Michelle

22   13:06:40   22    Smith's response, she says "We should probably also

23   13:06:44   23    document the pre-startup safety checks and

24   13:06:47   24    coordination with required individuals.    Mike, this

25   13:06:50   25    was one of the things listed in the OSHA citation."



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 1   13:06:53    1              Is that OSHA citation what you were just

 2   13:06:55    2    referring to?

 3   13:06:58    3         MR. BOLINGER:    Object.    Objection.   Calls for

 4   13:06:58    4    speculation.

 5   13:07:00    5         THE WITNESS:    I'm not going to speculate.

 6   13:07:02    6         Q.   (BY MR. WATKINS)      When Michelle says "This

 7   13:07:06    7    was one of the things listed in the OSHA citation,"

 8   13:07:09    8    what did you understand Ms. Michelle -- Ms. Smith to

 9   13:07:14    9    be referring to?

10   13:07:20   10         A.   This is part -- pre-startup safety checks

11   13:07:24   11    and coordination are part of an ARM program.       They are

12   13:07:25   12    part of it.

13   13:07:27   13         Q.   Okay.    And I think you just testified that

14   13:07:30   14    the OSHA citation was a result of extension cords

15   13:07:35   15    being plugged in the wrong spots and things like that?

16   13:07:36   16         A.   Yes.    Things like that, yes.

17   13:07:39   17         Q.   Okay.    You are not aware of an any sort of

18   13:07:42   18    OSHA citation or OSHA notification concerning an

19   13:07:44   19    ammonia leak?

20   13:07:48   20         A.   No.

21   13:07:52   21         Q.   Were you the maintenance manager in or

22   13:07:53   22    around December of 2015?

23   13:07:56   23         A.   '15?

24   13:07:57   24         Q.   Yes, sir.

25   13:07:57   25         A.   Yes.



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 1   13:08:00    1         Q.   In December of 2015, was there an ammonia

 2   13:08:02    2    leak in the compressor room?

 3   13:08:02    3         A.   Yes.

 4   13:08:04    4         Q.   What happened?

 5   13:08:09    5         A.   We had a heat exchanger pop a weld, and it

 6   13:08:10    6    started leaking ammonia.

 7   13:08:13    7         Q.   How much ammonia did it leak?

 8   13:08:13    8         A.   I don't know.

 9   13:08:18    9         Q.   Did -- was OSHA apprised of the situation?

10   13:08:19   10         A.   Yes.

11   13:08:22   11         Q.   What, if anything, did OSHA do as a result?

12   13:08:26   12         A.   They come out and inspected us, but by that

13   13:08:29   13    time we already had the heat exchanger removed and a

14   13:08:31   14    bypass put on.

15   13:08:32   15         Q.   Okay.   Do you know -- and I'm sorry.      Did

16   13:08:33   16    you say it popped a weld?

17   13:08:35   17         A.   Yeah, a weld popped.

18   13:08:37   18         Q.   Okay.   Do you know why that happened?

19   13:08:38   19         A.   No.

20   13:08:40   20         Q.   What did you do to fix it?

21   13:08:40   21         A.   Pardon me?

22   13:08:42   22         Q.   What was done to remedy the situation?

23   13:08:46   23         A.   They removed in and put in a bypass pipe.

24   13:08:48   24         Q.   When you say "they," who is they?

25   13:08:49   25         A.   Kemper.   I'm sorry.



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 1   13:08:52    1         Q.    So Kemper came in and removed the popped

 2   13:08:54    2    weld and did a bypass pipe?

 3   13:08:56    3         A.    Removed the heat exchange altogether and put

 4   13:08:57    4    in the bypass.

 5   13:09:00    5         Q.    Okay.   And this was December of 2015?

 6   13:09:00    6         A.    Yes.

 7   13:09:02    7         Q.    Did you or anyone associated with your

 8   13:09:08    8    maintenance crew alert FPS to the fact in -- before

 9   13:09:12    9    July of 2016 that there had been a leak in December of

10   13:09:15   10    2015 from the ammonia system?

11   13:09:15   11         A.    No.

12   13:09:21   12         Q.    Okay.   Prior to the weld pop in December of

13   13:09:25   13    2015, had there been any other ammonia leaks at

14   13:09:29   14    Dickinson?

15   13:09:31   15         A.    Yes.

16   13:09:34   16         Q.    When was the -- when was the other ammonia

17   13:09:37   17    leak or what was the next in time ammonia leak?

18   13:09:41   18         A.    The next one -- the one prior to that was on

19   13:09:42   19    A Line.

20   13:09:43   20         Q.    Okay.

21   13:09:45   21         A.    Which is a totally separate line, separate

22   13:09:50   22    system.   And that happened '13, '14.

23   13:09:54   23         Q.    Okay.   Was anyone hospitalized as a result

24   13:09:55   24    of that leak?

25   13:09:57   25         A.    Not that I'm aware of.



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 1   13:09:59    1         Q.   Do you know what happened for that leak?

 2   13:10:01    2         A.   The chemicals that we used to treat the

 3   13:10:05    3    water for the cooling tower were being dispensed right

 4   13:10:09    4    onto the coils, and they ate through the coils; so

 5   13:10:13    5    they had to pinch off a set of the coils.

 6   13:10:19    6         Q.   I'm sorry.    This is -- shows my ignorance in

 7   13:10:20    7    this area.

 8   13:10:25    8              The water used in the cooling tower was

 9   13:10:27    9    dispensed onto the coil?

10   13:10:29   10         A.   Yeah.    It was -- it was -- it was going

11   13:10:31   11    right onto a coil.

12   13:10:34   12         Q.   It was leaking or dripping on the coil?

13   13:10:36   13         A.   No.    It was being -- when we introduced the

14   13:10:39   14    chemical into the water to treat the water, it was

15   13:10:42   15    being introduced right on the coil and that ate

16   13:10:43   16    through the coil.

17   13:10:46   17         Q.   That was intentional to have it be put

18   13:10:48   18    directly on the coil or was that ever --

19   13:10:51   19         A.   I don't think it was expected to go onto the

20   13:10:51   20    coils.

21   13:10:52   21         Q.   Okay.

22   13:10:54   22         A.   But I -- I wasn't there at the time.

23   13:10:57   23         Q.   Okay.    And as a result, there was an ammonia

24   \\stoel.com\Lit\Cases\0085000-01047

25   13:10:58   25         A.   Yes.



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 1   13:10:59    1         Q.     Do you know how long that ammonia leak

 2   \\stoel.com\Lit\Cases\0085000-01047

 3   13:11:04    3         A.     No.   Like I said, I was not there at the

 4   13:11:04    4    time.

 5   \\stoel.com\Lit\Cases\0085000-01047

 6   13:11:08    6         A.     I left for a year and a half and then came

 7   13:11:09    7    back.

 8   13:11:13    8         Q.     Oh, okay.   So you started in 2010 -- I'm

 9   13:11:15    9    sorry.    You started in 2000.

10   13:11:15   10         A.     Right.

11   13:11:17   11         Q.     And then you left --

12   13:11:18   12         A.     In 2013 -- 2013.

13   13:11:18   13         Q.     Okay.

14   13:11:23   14         A.     And I came back in 2014 -- '15 -- September

15   13:11:24   15    of '14 or '15.

16   13:11:26   16         Q.     Where did you go for that year and a half?

17   13:11:29   17         A.     I worked for Rush Truck Centers.

18   13:11:30   18         Q.     Why is that?

19   13:11:32   19         A.     Because I left Dickinson.

20   13:11:34   20         Q.     Why did you leave Dickinson?

21   13:11:35   21         A.     I'd rather not say.

22   13:11:38   22         Q.     Well, unless your counsel instructs you not

23   13:11:40   23    to answer the question, you need to answer the

24   13:11:41   24    question.

25   13:11:42   25                Why did you leave Dickinson?



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 1   13:19:06    1         Q.     There is a follow-up email from Mr. Campbell

 2   13:19:10    2    where he says "No.      We are waiting until the precool

 3   13:19:13    3    is in place and we see what sort of demand it will

 4   13:19:17    4    require.    FPS can't give a tonnage amount that is

 5   13:19:20    5    required.    Even if they did provide the tonnage

 6   13:19:23    6    requirement, I would not trust it.      It should not

 7   13:19:28    7    require more than 500 HP that is in place right now."

 8   13:19:30    8                Does Mr. Campbell's email refresh your

 9   13:19:31    9    recollection as to --

10   13:19:33   10         A.     Yeah.    I think it does, yes.

11   13:19:35   11         Q.     So what was the issue with the wiring -- or

12   13:19:45   12    the electric -- the electrical?

13   13:19:49   13         A.     Well, it's the amount of horsepower.     It's

14   13:19:55   14    not the electrical.

15   13:19:58   15         Q.     Okay.    So Steve with DC Electric is asking

16   13:19:58   16    about the horsepower?

17   13:20:03   17         A.     Yeah.    Are you going to go with the 500 or

18   13:20:05   18    with that 125, I think is what it was.       When they were

19   13:20:06   19    thinking about adding a compressor --

20   13:20:07   20         Q.     Okay.

21   13:20:08   21         A.     -- they were thinking first of all 125

22   13:20:12   22    horse, and I think they didn't think that would be

23   13:20:13   23    enough.

24   13:20:15   24         Q.     So then they went with the 500?

25   13:20:15   25         A.     Right.



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 1   13:20:20    1         Q.     So this is dated January 27, 2017 -- your

 2   13:20:26    2    email.    Were both compressors on line at this time?

 3   13:20:26    3         A.     Oh, I don't remember.

 4   13:20:30    4         Q.     And that's what -- I'm looking for some

 5   13:20:32    5    guidance, and I'm trying to just establish a timeline

 6   13:20:37    6    here.     If Mr. Campbell is asking about whether you are

 7   13:20:41    7    going with the 500 or the 125 horsepower compressor,

 8   13:20:45    8    does it suggest to you that they weren't installed

 9   13:20:46    9    then or that they were?

10   13:20:47   10         A.     Were not.

11   13:20:50   11         Q.     Were not.

12   13:20:56   12                Do you know why -- did Mr. Campbell ever

13   13:20:59   13    explain to you why they wanted to wait to see --

14   13:20:59   14         A.     No.

15   13:21:02   15         Q.     -- when the precooler was in place before

16   13:21:02   16    they --

17   13:21:05   17         A.     No.     Todd never explained it -- much of

18   13:21:07   18    anything to me.

19   13:21:10   19         Q.     Was that unique for this project, or is that

20   13:21:11   20    generally how things work?

21   13:21:13   21         A.     Generally how things work.

22   13:21:13   22         Q.     Okay.

23   13:21:16   23         A.     Decisions were made by people above me, and

24   13:21:19   24    I took direction from them and did what they told me.

25   13:21:23   25         Q.     Okay.    I'll hand you Exhibit 156.



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 1   13:21:25   1                 (Exhibit 156 marked.)

 2   13:21:42    2         Q.     (BY MR. WATKINS)   This is an email between

 3   13:21:48    3    yourself and Eric York dated March 10 of 2017.       In

 4   13:21:51    4    your first email you say "Eric, first of all, please

 5   13:21:56    5    don't blame the messenger, but I'm being asked to ask

 6   13:22:00    6    you if once we have the valving taken care, would it

 7   13:22:03    7    be possible to have someone stay here for a few days,

 8   13:22:06    8    maybe a week or so to monitor the situation and be

 9   13:22:08    9    sure that things are truly resolved?"

10   13:22:12   10                First off, what is the valving issue that

11   13:22:12   11    you are referring to?

12   13:22:14   12         A.     I'm talking about the check valves and

13   13:22:17   13    strainers up on the roof for Line B.

14   13:22:21   14         Q.     Okay.   What are the check valves?   What do

15   13:22:22   15    those do?

16   13:22:25   16         A.     They allow flow one way and not the other.

17   13:22:26   17         Q.     Okay.

18   13:22:28   18         A.     So when you go into defrost, these would

19   13:22:30   19    shut and your hot gas would come on.

20   13:22:32   20         Q.     Okay.   And the check valves were installed

21   13:22:33   21    by Kemper?

22   13:22:33   22         A.     Yes.

23   13:22:35   23         Q.     What, if anything, was the issue with the

24   13:22:37   24    check valves that Eric needed to look at?

25   13:22:39   25         A.     The problems we were having were with any



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 1   13:22:41    1    new piping, you are going to have flaking inside the

 2   13:22:44    2    pipe.   That's going to get down into the check valves.

 3   13:22:45    3    It's going to get into the strainers and all that

 4   13:22:49    4    stuff has to be constantly cleaned out until all of

 5   13:22:51    5    that issue works its way through the system.

 6   13:22:51    6          Q.   Okay.

 7   13:22:53    7          A.   And that's what was going on at the time was

 8   13:22:55    8    we would -- they would -- we would have an issue with

 9   13:22:58    9    a strainer being full of oil.    Kemper would come out

10   13:23:00   10    and they would clean it and then they would leave.

11   13:23:03   11               Well, 20 minutes to 2 hours to 2 days later

12   13:23:06   12    that strainer could plug up again; so we would have to

13   13:23:11   13    call them back because none of our guys knew how to do

14   13:23:13   14    it.   So that's what was going on there.   Those were

15   13:23:16   15    the issues that would randomly crop up.    You never

16   13:23:19   16    knew when it was going to happen.    And that's why we

17   13:23:22   17    wanted somebody there for at least a week to make sure

18   13:23:27   18    they had got them all clean and all flushed out.

19   13:23:27   19          Q.   Now, so my understanding is the freezer was

20   13:23:30   20    installed -- the FPS freezer was installed in or

21   13:23:33   21    around July of 2016.    This is dated March 10, 2017.

22   13:23:39   22    So approximately a year later there is valve issues

23   13:23:42   23    that are persisting with the Kemper refrigeration

24   13:23:45   24    system?

25   13:23:46   25          MR. BOLINGER:   Object to the characterization of



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 1   13:23:47    1    persisting.

 2   13:23:50    2         MR. WATKINS:    You can go ahead and answer.

 3   13:23:53    3         THE WITNESS:    The problems would be there.    They

 4   13:23:57    4    would go away.   Then they would come back.    Because

 5   13:24:00    5    the refrigeration system and the flaking inside the

 6   13:24:04    6    pipes and stuff didn't happen on a time schedule.

 7   13:24:04    7         MR. WATKINS:    Sure.

 8   13:24:05    8         THE WITNESS:    When it broke off, that's when it

 9   13:24:08    9    went.   And we needed somebody -- they would say,

10   13:24:11   10    "Yeah, we got you fixed."    Now, that would not shut

11   13:24:15   11    the tunnel down.    That would shut down maybe one zone.

12   13:24:18   12    And it is just a matter of getting it cleaned out,

13   13:24:21   13    putting it back together and then it would run again.

14   13:24:23   14         Q.   (BY MR. WATKINS)    Okay.   So to fix it you

15   13:24:25   15    would have to shut down a zone of the tunnel?

16   13:24:28   16         A.   Right.    One zone, not the whole tunnel.

17   13:24:30   17         Q.   Understandable.    What that issue -- strike

18   13:24:30   18    that.

19   13:24:33   19              As the maintenance manager, were you or your

20   13:24:39   20    crew addressing or dealing with issues from any

21   13:24:43   21    systems installed with Kemper since July of 2016 when

22   13:24:46   22    they put those systems in place?

23   13:24:47   23         A.   Dealing with any issues?

24   13:24:48   24         Q.   Yes, sir.

25   13:24:50   25         A.   Just the strainers and the check valves.



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 1   13:24:56    1           Q.   Okay.    So since July of 2016, the strainer

 2   13:24:58    2    and check valve were things you had to deal with?

 3   13:25:01    3           A.   We did have some issues with the compressor,

 4   13:25:03    4    as far as oil.

 5   13:25:03    5           Q.   Okay.

 6   13:25:05    6           A.   But we got that taken care of through Kemper

 7   13:25:06    7    also.

 8   13:25:09    8           Q.   Okay.    You then say "Sergio doesn't want to

 9   13:25:14    9    call FPS back in here for the defrost issues until he

10   13:25:16   10    is sure that the refrigeration aspect is taken care

11   13:25:17   11    of."

12   13:25:20   12                What is the refrigeration aspect that you we

13   13:25:20   13    were talking about?

14   13:25:23   14           A.   The strainers and check valves.

15   13:25:23   15           Q.   Okay.

16   13:25:26   16           A.   Because like I say, they could have fixed it

17   13:25:29   17    and then been five miles down the road and it could

18   13:25:30   18    have happened again.

19   13:25:31   19           Q.   And you just kept seeing --

20   13:25:33   20           A.   Right.    And these guys are three hours away;

21   13:25:33   21    so...

22   13:25:35   22           Q.   Where are they located at?

23   13:25:37   23           A.   Salt Lake.    So he wanted somebody to stay

24   13:25:40   24    for a week to make sure that that wasn't going to

25   13:25:41   25    happen.



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 1   13:25:43    1         Q.   When you say "he," who --

 2   13:25:43    2         A.   Sergio.

 3   13:25:44    3         Q.   Sergio wanted Kemper to stay there for a

 4   13:25:44    4    week?

 5   13:25:45    5         A.   Wanted somebody to be on-site or within five

 6   13:25:46    6    minutes of the plant, which would be Rexburg.

 7   13:25:47    7         Q.   Okay.     And did they do that?

 8   13:25:49    8         A.   Yes, they did.

 9   13:25:53    9         Q.   Okay.     When -- when did that occur?   Was

10   13:25:56   10    that in or around March of 2017?

11   13:25:59   11         A.   It was shortly after this email.

12   13:26:02   12         Q.   Okay.     Somebody from Kemper around that time

13   13:26:05   13    frame stayed there for approximately one month -- or

14   13:26:08   14    one week, excuse me?

15   13:26:10   15         A.   A week.

16   13:26:13   16         Q.   Do you know why Sergio wanted -- and I'm

17   13:26:19   17    asking if he ever communicated this to you.     Did you

18   13:26:22   18    ever have any conversations with Sergio as to why he

19   13:26:24   19    wanted to resolve the refrigeration aspects first

20   13:26:28   20    before going to FPS to have them look at things?

21   13:26:29   21         A.   No.     I do not know.

22   13:26:35   22        Q.    Okay.    I'm going to hand you Exhibit 157.

23   13:26:37   23              (Exhibit 157 marked.)

24   13:26:49   24         Q.   (BY MR. WATKINS)     This is an email string

25   13:26:54   25    from March 23, 2017, to March 22, 2017, so after that



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 1   13:38:48    1    the oil was not designed to go that low.

 2   13:38:48    2         Q.   Okay.

 3   13:38:50    3         A.   So he wanted to switch it out to the

 4   13:38:51    4    synthetic oil.

 5   13:38:51    5         Q.   Okay.

 6   13:38:53    6         A.   That was the main thing I remember.

 7   13:38:55    7         Q.   Was to switch out the oil?

 8   13:38:58    8         A.   Yeah.

 9   13:39:00    9         Q.   All right.   So looking at this exhibit,

10   13:39:07   10    Exhibit 126, on the first page, April 10, 2017,

11   13:39:12   11    Mr. Wiencke sends an email to you and others.    In the

12   13:39:17   12    first paragraph about halfway down he says "We

13   13:39:17   13    established" --

14   13:39:18   14         A.   I got it.

15   13:39:21   15         Q.   It says "We established that we still have

16   13:39:24   16    excessive amounts of oil in the system, approximately

17   13:39:27   17    60 gallons, and proved that oil in the system is

18   13:39:30   18    causing operational issues, clogging the strainers and

19   13:39:33   19    hereby restricting the ammonia flow to the

20   13:39:36   20    evaporators.   I believe the oil is a key culprit for

21   13:39:40   21    the following reasons" and then he goes on to explain.

22   13:39:42   22              When you got this email, did you agree with

23   13:39:47   23    what Mr. Wiencke was saying?

24   13:39:50   24         A.   I did purely because he was an expert and I

25   13:39:51   25    wasn't.



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 1   13:39:54    1         Q.   Okay.    So you said "If that's what he says,

 2   13:39:55    2    I believe him"?

 3   13:39:55    3         A.   Yeah.

 4   13:39:57    4         Q.   Sure.    Did you have any understanding when

 5   13:40:01    5    he says ammonia -- it -- that the oil can restrict the

 6   13:40:04    6    ammonia flow to the evaporators, as the maintenance

 7   13:40:07    7    manager did you have any understanding as to how that

 8   13:40:10    8    might impact the performance of your system?

 9   13:40:11    9         A.   Well, it was plugging the strainers.

10   13:40:14   10         Q.   Did you have any understanding as to how

11   13:40:17   11    restricted ammonia flow would impact the performance

12   13:40:18   12    of your system?

13   13:40:18   13         A.   Yes.

14   13:40:19   14         Q.   What's that?

15   13:40:21   15         A.   You are not getting ammonia to the tunnel.

16   13:40:22   16         Q.   And why is that important?

17   13:40:26   17         A.   Because that's how you boil off the heat.

18   13:40:27   18         Q.   Okay.    The oil is what --

19   13:40:28   19         A.   Not the oil.

20   13:40:31   20         Q.   I'm sorry.    The ammonia is what provides the

21   13:40:32   21    cooling capacity?

22   13:40:34   22         A.   Yes.    The cooling, yes.

23   13:40:37   23         Q.   So if that ammonia is not flowing, you are

24   13:40:39   24    not going to be able to cool?

25   13:40:39   25         A.   Correct.



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 1   13:40:42    1         Q.   And that was what Mr. Wiencke was concluding

 2   13:40:43    2    in April of 2017?

 3   13:40:45    3         MR. BOLINGER:    Objection.   Calls for speculation.

 4   13:40:48    4         THE WITNESS:    Yeah, I'm not going to speculate.

 5   13:40:52    5         Q.   (BY MR. WATKINS)    Okay.   On the second page,

 6   13:41:04    6    who was responsible for putting the oil into the

 7   13:41:06    7    compressor?   And what I mean -- putting it in I

 8   13:41:10    8    mean -- the oil that Mr. Wiencke was talking about

 9   13:41:13    9    that was in the system that he thought was too thick,

10   13:41:14   10    who was responsible for that?

11   13:41:15   11         A.   That was Kemper.

12   13:41:16   12         Q.   Kemper did that?

13   13:41:16   13         A.   Yes.

14   13:41:19   14         Q.   Do you know if FPS had any say as to what

15   13:41:21   15    oil was to be used in the system?

16   13:41:22   16         A.   No, I do not.

17   13:41:24   17         Q.   Okay.   On the second page about halfway down

18   13:41:28   18    on the first paragraph he says "This morning I

19   13:41:32   19    obtained a schematic of the FPS compressor package and

20   13:41:35   20    identified that the pressure transducer is located

21   13:41:38   21    upstream of the suction strainer and check valve."

22   13:41:40   22              Do you know what he's talking when he says

23   13:41:43   23    the pressure transducer?

24   13:41:47   24         A.   I know what a pressure transducer is.

25   13:41:49   25         Q.   Okay.   What is a pressure transducer?



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 1   13:41:51    1          A.   It's like a relay that reads the pressure

 2   13:41:56    2    and sends it to the computer for the compressor.

 3   13:41:56    3          Q.   Okay.

 4   13:41:59    4          A.   So if you are getting over 20, it shuts the

 5   13:42:03    5    compressor down.    It's a -- it's a -- I don't know how

 6   13:42:09    6    to word it.   It's like putting a thermometer in your

 7   13:42:09    7    mouth.

 8   13:42:09    8          Q.   Okay.

 9   13:42:11    9          A.   That's your transducer right there.   It's

10   13:42:13   10    telling you the temperature.

11   13:42:15   11          Q.   Okay.   It's a reading gauge?

12   13:42:15   12          A.   Yes.

13   13:42:16   13          Q.   A measurement?

14   13:42:16   14          A.   Yes.

15   13:42:18   15          Q.   Okay.   He then says "Consequently, the

16   13:42:22   16    transducer is reading the system pressure and not

17   13:42:24   17    compressor suction pressure.    This means if the

18   13:42:27   18    suction strainer is clogged with oil and/or dirt,

19   13:42:29   19    there is no way to tell what suction pressure the

20   13:42:33   20    compressor is operating at.    The compressor may be

21   13:42:36   21    operating at 20 HG suction pressure without us knowing

22   13:42:40   22    it.   This causes a big loss in cooling capacity and

23   13:42:43   23    will cause both compressors to operate fully loaded

24   13:42:46   24    with reduced refrigeration effect."

25   13:42:48   25               Did I read that correctly?



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 1   13:42:48    1         A.   Yes.

 2   13:42:52    2         Q.   Do you know who was in charge of installing

 3   13:42:53    3    the transducers on the lines?

 4   13:42:55    4         A.   No.

 5   13:42:57    5         Q.   Do you know who was in charge of deciding

 6   13:43:01    6    where the transducers would be put on the lines?

 7   13:43:01    7         A.   No.

 8   13:43:05    8         Q.   Do you know if -- do you think it was FPS?

 9   13:43:06    9         A.   I don't know.

10   13:43:10   10         Q.   Okay.    Are the transducers part of the

11   13:43:13   11    ammonia system -- or strike that.

12   13:43:16   12              Are the transducers attached to the ammonia

13   13:43:18   13    system that were -- was installed by Kemper?

14   13:43:20   14         A.   They are attached to the compressor.

15   13:43:23   15         Q.   Okay.    The transducers are attached to the

16   13:43:25   16    compressor, which was a GEA compressor?

17   13:43:25   17         A.   Correct.

18   13:43:27   18         Q.   And the GEA compressor was installed by

19   13:43:28   19    Kemper?

20   13:43:28   20         A.   Correct.

21   13:43:32   21         Q.   He then has a bulleted list of six items.

22   13:43:37   22    He says "Have Russ verify that the pressure

23   13:43:40   23    transmitter is located upstream" and then he goes on.

24   13:43:42   24              Do you know who Russ is?

25   13:43:44   25         A.   No.    I don't remember.



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 1   13:43:47    1         Q.     Russ is not one of your employees?

 2   13:43:47    2         A.     No.

 3   13:43:52    3         Q.     Okay.   Several of these deal with the oil,

 4   13:43:56    4    which we've talked about, so I'm going to jump ahead

 5   13:43:59    5    to No. 6.    He says "Get ammonia Pump No. 2

 6   13:44:00    6    operational."

 7   13:44:04    7                Do you know what he's talking about there?

 8   13:44:05    8         A.     No.

 9   13:44:09    9         Q.     Was there ever an issue where you or someone

10   13:44:13   10    visiting Dickinson tried to start Ammonia Pump No. 2

11   13:44:16   11    and it wouldn't start or turn over?

12   13:44:19   12         A.     No.   They always start.   Whether they pump

13   13:44:22   13    ammonia or not is the question.

14   13:44:24   14         Q.     Okay.   Was there ever a situation where

15   13:44:26   15    you -- someone associated with your department or

16   13:44:31   16    someone at Dickinson tried to start up the ammonia

17   13:44:34   17    Pump No. 2 and it wouldn't pump?

18   13:44:35   18         A.     Not that I'm aware of.

19   13:44:38   19         Q.     So you don't know what Mr. Wiencke is

20   13:44:39   20    talking about here?

21   13:44:40   21         A.     No.

22   13:44:42   22         Q.     I think that to mean that you didn't do

23   13:44:45   23    anything then to address the ammonia pump issue?

24   13:44:45   24         A.     No.

25   13:44:49   25         Q.     Okay.   Do you know if any of these six items



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 1   13:44:53    1    that are listed have anything to do with FPS, or were

 2   13:44:56    2    to do items for FPS to handle?

 3   13:44:58    3         MR. BOLINGER:    Objection.   Foundation.

 4   13:44:59    4    Argumentative.

 5   13:45:12    5         THE WITNESS:    No.

 6   13:45:15    6         Q.   (BY MR. WATKINS)    Would it be fair to say --

 7   13:45:19    7    or is it a fair characterization to say that by

 8   13:45:22    8    April -- by April 10, 2017, there were at least six

 9   13:45:25    9    different issues that needed to be addressed that were

10   13:45:27   10    not FPS issues?

11   13:45:28   11         MR. BOLINGER:    Objection.   Foundation.

12   13:45:30   12    Argumentative.

13   13:45:34   13         THE WITNESS:    I would say yes.

14   13:45:35   14         Q.   (BY MR. WATKINS)    Would it be fair to say

15   13:45:43   15    that by -- or would it be unfair to say that by April

16   13:45:48   16    2017 100 percent of the throughput capacity issues

17   13:45:53   17    that Dickinson was experiencing was all FPS's fault?

18   13:45:57   18         MR. BOLINGER:    Objection.   Leading.   Foundation.

19   13:46:01   19    Argumentative.    Calls for speculation.   Calls for

20   13:46:02   20    opinion testimony.

21   13:46:11   21         THE WITNESS:    Yeah, I'm not going to speculate.

22   13:46:12   22         Q.   (BY MR. WATKINS)    As the maintenance

23   13:46:17   23    manager, do you have -- have you observed whether or

24   13:46:23   24    not all of the issues, to the extent there are any,

25   13:46:27   25    dealing with throughput capacity of the FPS freezer



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 1   13:46:31    1    were exclusively issues that were FPS's

 2   13:46:32    2    responsibility?

 3   13:46:35    3         MR. BOLINGER:    Objection.     Foundation.   Calls for

 4   13:46:40    4    expert testimony.    Calls for speculation.

 5   13:46:41    5    Argumentative.

 6   13:46:45    6         THE WITNESS:    I do not know.

 7   13:46:47    7         MR. WATKINS:    Okay.     Let's go ahead and look at

 8   13:46:49   8     Exhibit 158.

 9   13:46:51    9                (Exhibit 158 marked.)

10   13:47:02   10         Q.     (BY MR. WATKINS)    So Exhibit 158 is an email

11   13:47:05   11    between Drew and Jeffrey, and they are forwarding on

12   13:47:07   12    some meeting minutes, and I'm actually going to focus

13   13:47:10   13    on those meeting minutes on the second page that you

14   13:47:10   14    have right there.

15   13:47:10   15         A.     Okay.

16   13:47:13   16         Q.     I see that you are a party to a meeting on

17   13:47:15   17    April 12, 2017; is that right --

18   13:47:16   18         A.     Yes.

19   13:47:19   19         Q.     -- in the attendee section?

20   13:47:19   20         A.     Yes.

21   13:47:23   21         Q.     Do you know why FPS was not in that meeting?

22   13:47:25   22         A.     No.

23   13:47:28   23         Q.     Did you ever have discussions or was it ever

24   13:47:32   24    told to you that FPS should not be involved in these

25   13:47:32   25    meetings?



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 1   13:47:34    1         A.   No.

 2   13:47:36    2         Q.   You never disinvited FPS?

 3   13:47:37    3         A.   No.

 4   13:47:43    4         Q.   Okay.   In the second bullet point in this

 5   13:47:45    5    meeting, it was discussed that there were possibly 29

 6   13:47:49    6    gallons of oil still in the system based on oil log.

 7   13:47:52    7              What's an oil log?

 8   13:47:55    8         A.   It's a log of oil that is added and taken

 9   13:47:58    9    out of the system.

10   13:47:59   10         Q.   Okay.   Is this --

11   13:48:01   11         A.   We log it when we do it.

12   13:48:04   12         Q.   Okay.   Is this a handwritten document or

13   13:48:04   13    electronic?

14   13:48:05   14         A.   Yes, handwritten.

15   \\stoel.com\Lit\Cases\0085000-01047

16   13:48:08   16    still?

17   13:48:09   17         A.   I do, yes.

18   13:48:10   18         Q.   All right.   Do you know if you --

19   13:48:12   19         A.   I call it an ammonia log though.

20   13:48:16   20         Q.   Okay.   Does the ammonia log also track the

21   13:48:18   21    amount of ammonia in the system or just --

22   13:48:18   22         A.   Yes.

23   13:48:22   23         Q.   So this one log tracks both oil and ammonia?

24   13:48:22   24         A.   Yes.

25   13:48:23   25         Q.   Okay.   Do you know if you produced those



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 1   13:52:19    1    check valve and a stop valve?

 2   13:52:20    2         A.   I don't know.

 3   13:52:27    3         Q.   Okay.   But No. 2 and No. 5 stop valves were

 4   13:52:31    4    having issues and No. 2 and No. 4 check valves were

 5   13:52:32    5    also having issues?

 6   13:52:34    6         MR. BOLINGER:    Objection.   Foundation.

 7   13:52:36    7         THE WITNESS:    I believe so, yes.

 8   13:52:37    8         Q.   (BY MR. WATKINS)    Okay.   And those were

 9   13:52:39    9    Kemper valves; right?

10   13:52:40   10         A.   Kemper installed.

11   13:52:44   11         Q.   Kemper installed valves.     Okay.

12   13:52:52   12              Let's look at Exhibit 159.

13   13:52:54   13              (Exhibit 159 marked.)

14   13:53:13   14         Q.   (BY MR. WATKINS)    All right.   This is an

15   13:53:16   15    email chain between yourself and several others,

16   13:53:18   16    including folks from Kemper and Dickinson.       I'm

17   13:53:22   17    focused on your email in the middle where you provide

18   13:53:25   18    an update as to what's been done since the last

19   13:53:28   19    follow-up call.   You say "On Thursday the 13th we

20   13:53:32   20    cleaned the strainers again," and you list 1 through

21   13:53:32   21    6.

22   13:53:35   22              Are there six different strainers in the

23   13:53:36   23    system?

24   13:53:36   24         A.   Yes.

25   13:53:38   25         Q.   Is that six per compressor or six throughout



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 1   13:53:40    1    the whole system?

 2   13:53:40    2         A.   Per coil.

 3   13:53:42    3         Q.   Each coil has six strainers?

 4   13:53:45    4         A.   The strainers are up on the roof.    The coils

 5   13:53:47    5    are inside the freeze tunnel.

 6   13:53:47    6         Q.   Okay.

 7   13:53:50    7         A.   The strainers -- this is one for each zone.

 8   13:53:52    8         Q.   Okay.   One for each coil?

 9   13:53:53    9         A.   Correct.

10   13:53:57   10         Q.   Okay.   And so at least, according to your

11   13:54:03   11    email, the strainers for Coils 1 through 5, one was

12   13:54:07   12    half full of oil.    The other one was a quarter full.

13   13:54:12   13    Another one was an eight full, et cetera?

14   13:54:12   14         A.   Correct.

15   13:54:16   15         Q.   So as of April 19, 2017, there were -- there

16   13:54:18   16    was oil in those strainers?

17   13:54:18   17         A.   Correct.

18   13:54:24   18         Q.   You then say you cleaned the precoil

19   13:54:26   19    strainer and it -- strike that.

20   13:54:28   20              Do you have any understanding as to what

21   13:54:32   21    impact, if any, having oil in the strainers for those

22   13:54:36   22    coils -- what impact that might have on throughput?

23   13:54:37   23         A.   Yes.

24   13:54:38   24         Q.   What's that?

25   13:54:41   25         A.   The -- if you plug the strainer off with



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 1   13:54:45    1    oil, you can't get the gas through.   If you can't get

 2   13:54:50    2    the gas through, you can't defrost.   If you can't

 3   13:54:52    3    defrost, you can't freeze product.

 4   13:54:55    4         Q.   And these were Kemper installed strainers;

 5   13:54:56    5    right?

 6   13:54:56    6         A.   Correct.

 7   13:54:59    7         Q.   Okay.   Then you say "We also cleaned the

 8   13:55:03    8    precooled strainer, and it was half full of solids

 9   13:55:07    9    from the line packed so tight that I had to use a

10   13:55:10   10    screwdriver to poke the debris out of it."

11   13:55:11   11              What does that mean?

12   13:55:15   12         A.   The strainer is probably that long, four

13   13:55:17   13    inches long, an inch in diameter.

14   13:55:18   14         Q.   Okay.   It's a pipe?

15   13:55:19   15         A.   It's a -- it's a screen.

16   13:55:19   16         Q.   Okay.

17   13:55:25   17         A.   And your oil and your gasses and all that

18   13:55:29   18    pass through these.   As those plug up, you get less

19   13:55:33   19    surface area for the gasses to go through.    Half full

20   13:55:36   20    you still got half a strainer gas can get through, but

21   13:55:39   21    you are not getting it full as quickly as you should.

22   13:55:42   22         Q.   Okay.   So this was filled with debris, and

23   13:55:45   23    you were chipping away at it or trying to --

24   13:55:47   24         A.   Yeah, it had packed down there.    And I

25   13:55:49   25    couldn't just tap on the table to get it to fall out.



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 1   13:55:52    1    I had to actually dig it out.

 2   13:55:52    2           Q.   Do you know what -- what was the debris?

 3   13:55:53    3           A.   It's inside of pipe.

 4   13:55:54    4           Q.   Metal filings?

 5   13:55:58    5           A.   Yeah.    Yeah, flakes.   Flakes, mixed with

 6   13:55:58    6    oil.

 7   13:56:00    7           Q.   And that would stick together and make a

 8   13:56:02    8    mess?

 9   13:56:02    9           A.   Correct.

10   13:56:08   10           Q.   Look at Exhibit 129 that was previously

11   13:56:08   11    produced.

12   13:56:23   12                All right.    This is another email from you

13   13:56:28   13    to Eric York of Kemper.      You say "Eric, here is a list

14   13:56:31   14    of things that I know of that need to be done next

15   13:56:34   15    week when we change out the oil, as well as a couple

16   13:56:37   16    of items.    No. 1, change out the oil in the system to

17   13:56:39   17    synthetic oil."

18   13:56:40   18                We've talked about that; right?

19   13:56:40   19           A.   Yes.

20   13:56:45   20           Q.   Okay.    No. 2 you say -- is it Kalob?

21   13:56:45   21           A.   Kalob.

22   13:56:46   22           Q.   Kalob.

23   13:56:49   23                "Kalob was unable to do anything with the

24   13:56:51   24    check valves today."

25   13:56:53   25                Do you know why?



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 1   13:56:58    1         A.    Production.    They wanted to wait until we

 2   13:57:00    2    were down for a reason.

 3   13:57:00    3         Q.    Oh, okay.

 4   13:57:02    4         A.    Not just shut down.

 5   13:57:04    5         Q.    Okay.   So was that a Sergio decision or --

 6   13:57:04    6         A.    Yes.

 7   13:57:08    7         Q.    Sergio said "We can't shut down the line.

 8   13:57:09    8    Do the check valves later"?

 9   13:57:12    9         A.    I cannot remember exactly what he said.

10   13:57:15   10         Q.    But that was the effect of it?

11   13:57:16   11         A.    That was the end result.

12   13:57:19   12         Q.    Okay.   "Production wanted to wait until we

13   13:57:22   13    are down for the oil change out down to the length of

14   13:57:24   14    time that they wouldn't be able to do defrosts.      Still

15   13:57:26   15    wondering if we should just replace them all while we

16   13:57:27   16    are down."

17   13:57:29   17               Do you know if you ended up replacing all

18   13:57:31   18    the check valves while you were down?

19   13:57:32   19         A.    We did not.

20   13:57:33   20         Q.    Why is that?

21   13:57:34   21         A.    It was decided they weren't -- they didn't

22   13:57:35   22    need it.

23   13:57:38   23         Q.    Okay.   Do you know who decided that?

24   \\stoel.com\Lit\Cases\0085000-01047

25   13:57:42   25         Q.    "No. 3, boil out the system to get all old



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 1   14:00:51    1          A.    I cannot say that, no.

 2   14:00:52    2          Q.    All right.    Have you ever seen a compressor

 3   14:00:56    3    fall out of alignment such that it started to eat up

 4   14:00:56    4    couplers?

 5   14:01:00    5          A.    Not a compressor, but I have seen other

 6   14:01:03    6    pieces of equipment that require couplers fall out of

 7   14:01:07    7    alignment due to vibration.

 8   14:01:10    8          Q.    Okay.   What function does a coupler serve?

 9   14:01:11    9          A.    It connects the motor to the compressor.

10   14:01:19   10          Q.    Okay.

11   14:01:31   11          MR. WATKINS:    Jackie, can we have Document 28?

12   14:01:32   12    What exhibit is this going to be?

13   14:01:46   13          MS. FRANOLICH:     This is 160.

14   14:01:47   14          MR. WATKINS:    I'm going to hand you what is

15   14:01:49   15    marked as Exhibit 160.

16   14:01:50   16                (Exhibit 160 marked.)

17   14:01:51   17          Q.    (BY MR. WATKINS)    All right.   These are some

18   14:01:52   18    more meeting minutes from a meeting that you were part

19   14:01:54   19    of.   This is an April 20, 2017, meeting.

20   14:01:57   20                When these meetings are occurring, are they

21   14:01:59   21    over the phone or in person?

22   14:02:00   22          MR. BOLINGER:    Objection.   Foundation.

23   14:02:04   23          THE WITNESS:    With these people involved, I'd say

24   14:02:06   24    in person.

25   14:02:09   25          Q.    (BY MR. WATKINS)    Okay.   So on -- to the



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 1   14:02:12    1    best of your recollection on April 20, 2017, Drew

 2   14:02:17    2    Provard from Kemper was on-site at Dickinson?

 3   14:02:18    3         A.   That's what it says here.

 4   14:02:21    4         Q.   Okay.   And Mr. Bent Wiencke and Kris Hinds

 5   14:02:23    5    were there as well?

 6   14:02:25    6         A.   It appears so.

 7   14:02:26    7         Q.   Okay.   And were you meeting in the

 8   14:02:28    8    conference room at Dickinson?

 9   14:02:30    9         a.   Yes, that's where it would have been.

10   14:02:33   10         Q.   About how long would these meetings last?

11   14:02:35   11         A.   I don't know.      I didn't time them.

12   14:02:41   12         Q.   Sure.   Bullet point No. 1 you say "System

13   14:02:46   13    running better but sluggishly every third day or so."

14   14:02:48   14         MR. BOLINGER:    Objection.    Foundation.    You have

15   14:02:51   15    not established that he authored this document.

16   14:02:53   16         MR. WATKINS:    Yeah.    Thanks, Dane.   Let me

17   14:02:53   17    rephrase that.

18   14:02:55   18         Q.   (BY MR. WATKINS)      On No. 1, the meeting

19   14:02:59   19    minutes say "System running better but sluggish every

20   14:03:00   20    third day or so."

21   14:03:01   21              Do you know what was discussed in the

22   14:03:03   22    meeting concerning that?

23   14:03:03   23         A.   No.

24   14:03:04   24         Q.   Do you understand what that means?

25   14:03:04   25         A.   No.



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 1   14:03:08    1         Q.    No. 2 says "Seems like check valves stick

 2   14:03:13    2    open between different units.     Oil replacement should

 3   14:03:14    3    help with sticking."

 4   14:03:17    4               Is this the same check valve that we were

 5   14:03:17    5    talking about in previous emails?

 6   14:03:17    6         A.    Yes.

 7   14:03:21    7         Q.    So as of April 20, 2017, that issue had not

 8   14:03:23    8    resolved yet?

 9   14:03:23    9         A.    Correct.

10   14:03:26   10         Q.    No. 6 says "Oil lost on 500 compressor

11   14:03:29   11    again.    Approximately a barrel lost.   Inspect

12   14:03:34   12    compressor during oil change out.     Daren to check

13   14:03:36   13    coalesce and report back on findings."

14   14:03:38   14               Do you know what that's referring to?

15   14:03:41   15         A.    That's where I was telling you the seals --

16   14:03:44   16    tolerances on the 500 horse were so bad that we were

17   14:03:48   17    losing a lot more oil than we should.

18   14:03:50   18         Q.    It was leaking oil?

19   14:03:51   19         A.    Into the system.

20   14:03:51   20         Q.    Oh, okay.

21   14:03:53   21         A.    That's what was plugging up strainers and

22   14:03:54   22    whatnot.

23   14:03:58   23         Q.    So on No. 6, approximately a barrel of oil

24   14:04:01   24    leaked from the 500 compressor into the system?

25   14:04:02   25         A.    That's what it says.



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 1   14:04:06    1         Q.    Okay.   And that was as of April 20, 2017?

 2   14:04:08    2         A.    Yep.

 3   14:04:18   3         Q.     Let's go ahead and look at Exhibit 161,

 4   14:04:37    4    please.

 5   14:04:39   5                (Exhibit 161 marked.)

 6   14:04:41    6         Q.    (BY MR. WATKINS)   This is another -- it

 7   14:04:45    7    looks to be a meeting invite and then there is a

 8   14:04:48    8    bullet point list.    You are included on this

 9   14:04:50    9    communication for the attendees.

10   14:04:56   10               It says that "We" -- and based off the email

11   14:04:59   11    coming from Loney Larson, I'm assuming that means

12   14:04:59   12    Kemper.

13   14:05:01   13               Is that your assumption as well?

14   14:05:01   14         A.    Yes.

15   14:05:05   15         Q.    So Kemper will have four service techs

16   14:05:08   16    on-site.   And then he says "1.    Change out the oil in

17   14:05:10   17    the system to synthetic oil.    Both compressors."

18   14:05:15   18               This is dated April 26, 2017.    If you like,

19   14:05:18   19    we can go back and look at previous emails, but from

20   14:05:21   20    what I've seen, it looks like the oil issue was

21   14:05:23   21    addressed or first brought to everyone's attention

22   14:05:26   22    about a month prior to this.

23   14:05:28   23               Do you have any idea why it has taken a

24   14:05:31   24    month so far for the oil to get replaced?

25   14:05:33   25         A.    The only thing I could think would be lead



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 1   14:05:35    1    time on the oil.      It's not something that's just

 2   14:05:38    2    sitting on a shelve waiting to be used.

 3   14:05:41    3           Q.    This isn't like car oil that you got the Pep

 4   14:05:42    4    Boys --

 5   14:05:42    5           A.    Correct.

 6   14:05:43    6           Q.    -- to get it?

 7   14:05:43    7           A.    It's refrigeration oil.

 8   14:05:44    8           Q.    Okay.   And so you have to ship it in or

 9   14:05:44    9    whatnot?

10   14:05:47   10           A.    Yeah.   Most likely it has to be made for it

11   14:05:50   11    too.    That's what creates a long lead time.

12   14:05:52   12           Q.    Okay.   "No. 2.   Take out check valves on the

13   14:05:54   13    DC lines."

14   14:05:55   14                 Do you know what the DC lines are?

15   14:06:00   15           A.    I cannot tell you what the DC stands for.

16   14:06:03   16           Q.    Okay.   Do you know what they do?

17   14:06:03   17           A.    No.

18   14:06:05   18           Q.    Are they part of the ammonia system?

19   14:06:05   19           A.    Yes.

20   14:06:09   20           Q.    Okay.   Now, this says to take out the check

21   14:06:13   21    valves.     Were the check valves being removed from the

22   14:06:15   22    system as opposed to being repaired?

23   14:06:17   23           MR. BOLINGER:     Objection.   Calls for speculation.

24   14:06:19   24           THE WITNESS:     Yeah, I'm not going to speculate

25   14:06:20   25    what that means.



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 1   14:06:22    1         Q.   (BY MR. WATKINS)     Well, were you part of

 2   14:06:25    2    this meeting?

 3   14:06:26    3         A.   I was there.

 4   14:06:28    4         Q.   Okay.    What, if anything, do you remember

 5   14:06:31    5    hearing being discussed about removing or taking out

 6   14:06:34    6    the check valves on the DC lines?

 7   14:06:36    7         A.   It's just cleaning them.

 8   14:06:38    8         Q.   Okay.    Okay.   So taking them out and

 9   14:06:41    9    cleaning them.    Was it your assumption that they would

10   14:06:43   10    then be reinstalled?

11   14:06:43   11         A.   Yes.

12   14:06:46   12         Q.   Okay.    "No. 3, remove oil from the system.

13   14:06:49   13    Sub-cooler LPR evaporators."

14   14:06:50   14              What's the sub-cooler?

15   14:06:53   15         A.   The sub-cooler -- it cools the liquid prior

16   14:06:55   16    to going into the compressor.

17   14:06:56   17         Q.   Okay.

18   14:07:00   18         A.   The LPR is a low pressure receiver and the

19   14:07:03   19    evaporators are what's actually in the tunnel -- the

20   14:07:03   20    coils.

21   14:07:06   21         Q.   Okay.    So go through all of those different

22   14:07:07   22    parts and remove oil?

23   14:07:10   23         A.   Get all the oil out of all the system.

24   14:07:12   24         Q.   Was Dickinson or the maintenance department

25   14:07:16   25    seeing oil in those areas: sub-cooler, LPR,



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 1   14:09:33    1    temperature?

 2   14:09:34    2         A.     I do not.

 3   14:09:37    3         Q.     Okay.   Is it because of the stuck valves

 4   14:09:40    4    that we were talking about earlier -- about defrost

 5   14:09:40    5    valves?

 6   14:09:43    6         MR. BOLINGER:      Objection.   Foundation.    Calls for

 7   14:09:47    7    expert testimony.     Calls for speculation.    Asked and

 8   14:09:47    8    answered.

 9   14:09:49    9         MR. WATKINS:     You can go ahead and answer.

10   14:09:50   10         THE WITNESS:     What was the question again?

11   14:09:52   11         Q.     (BY MR. WATKINS)    Is the reason the tunnel

12   14:09:55   12    crashed -- in your opinion did it have anything to do

13   14:09:57   13    with the hot gas valves?

14   14:09:58   14         MR. BOLINGER:      Same objection.

15   14:10:00   15         THE WITNESS:     It would have something to do with

16   14:10:04   16    it, but the tunnel didn't crash.       I want to make that

17   14:10:04   17    clear.

18   14:10:05   18         Q.     (BY MR. WATKINS)    I understand.   I

19   14:10:09   19    understand.    The Zone 3 went down, but the tunnel was

20   14:10:10   20    still working?

21   14:10:10   21         A.     Yes.

22   14:10:13   22         Q.     If you look at your first email, the one at

23   14:10:17   23    the top of this, you say "Hot gas valve No. 3 has

24   14:10:20   24    something stuck in it and will not close."

25   14:10:22   25                Is it your understanding that that had some



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 1   14:10:23    1    sort of impact?

 2   14:10:26    2           A.   Yeah.      Same zone, Zone 3.

 3   14:10:29    3           Q.   Okay.     And because it was stuck, it wouldn't

 4   14:10:29    4    defrost?

 5   14:10:29    5           A.   Defrost.

 6   14:10:32    6           Q.   Okay.     Do you know what was stuck in it?

 7   14:10:34    7           A.   No.     I wasn't there when they cleaned it

 8   14:10:35    8    out.

 9   14:10:39    9           Q.   Okay.     Sure.   And the hot gas valve, No. 3,

10   14:10:41   10    I think -- if you recall back to the beginning of your

11   14:10:44   11    deposition, we looked at that document.        That hot gas

12   14:10:46   12    was a Kemper responsibility?

13   14:10:47   13           A.   Correct.

14   14:10:55   14           Q.   Okay.    If we could look at Exhibit 163.

15   14:10:57   15                (Exhibit 163 marked.)

16   14:11:08   16           Q.   (BY MR. WATKINS)      This is an email to

17   14:11:13   17    yourself to Loney Larson.        I'm looking at the first

18   14:11:15   18    email from you.       It says "Loney, we are cleaning

19   14:11:18   19    strainers quite often.        We are making progress in

20   14:11:21   20    getting less and less oil in them every time, however,

21   14:11:23   21    the gaskets are starting to suffer."

22   14:11:24   22                What did you mean by that?

23   14:11:27   23           A.   Well, every strainer has a gasket.

24   14:11:27   24           Q.   Okay.

25   14:11:30   25           A.   And the more you take them off and put them



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 1   14:11:33    1    back on, the more those gaskets start to deteriorate

 2   14:11:34    2    right down.

 3   14:11:34    3         Q.   Okay.

 4   14:11:36    4         A.   So that's what I am referring to there.

 5   14:11:39    5         Q.   As a result of the oil issue, were you

 6   14:11:43    6    seeing the gaskets having more wear and tear than you

 7   14:11:45    7    typically would see?

 8   14:11:46    8         MR. BOLINGER:    Objection.    Foundation.

 9   14:11:51    9              You can answer it if you understand it.

10   14:11:54   10         THE WITNESS:    Yes.

11   14:11:55   11         Q.   (BY MR. WATKINS)      Is that because you were

12   14:11:57   12    removing them more often?

13   14:12:00   13         A.   Yes.    Yes.   Yes.

14   14:12:04   14         Q.   So in May of 2017, you are seeing less oil,

15   14:12:06   15    but you are still seeing oil in the system?

16   14:12:06   16         A.   Yes.

17   14:12:09   17         Q.   Any idea why it took so long to get the oil

18   14:12:11   18    out of the system?

19   14:12:12   19         MR. BOLINGER:    Objection.    Asked and answered.

20   14:12:14   20    Calls for speculation.      Argumentative.

21   14:12:17   21         THE WITNESS:    The only thing I can say is this --

22   14:12:22   22    the amount of pipes involved.      It just takes a long

23   14:12:25   23    time.   If you were to shut the line down and try to

24   14:12:29   24    get all of the ammonia back to the system -- to the

25   14:12:32   25    receivers, it would take a week for everything to



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 1   14:12:36    1    migrate back.      So the same goes with the oil.   It

 2   14:12:38    2    takes a long time to get it all out.

 3   14:12:40    3         Q.     (BY MR. WATKINS)    Lots of nooks and

 4   14:12:42    4    crannies?

 5   14:12:42    5         A.     Yes.

 6   14:12:45    6         Q.     Okay.    Was it ever discussed in any of these

 7   14:12:48    7    meetings to shut the line down for a week or some

 8   14:12:51    8    multi-day period of time to ensure that all the oil

 9   14:12:52    9    was removed?

10   14:12:55   10         A.     That was the plan to do when they did the

11   14:12:59   11    oil change out.      It was to shut down long enough for

12   14:13:02   12    them to do all that, get all the old oil out and put

13   14:13:03   13    new oil in.

14   14:13:05   14         Q.     And did they do that?

15   14:13:05   15         A.     Yes.

16   14:13:06   16         Q.     How long it was shut down?

17   14:13:07   17         A.     I don't remember.

18   14:13:08   18         Q.     More than a day though?

19   14:13:09   19         A.     Yes.

20   14:13:15   20         Q.     After that more than a day shutdown, were

21   14:13:17   21    you still seeing oil in your system as indicated by

22   14:13:21   22    your May 3, 2017, email?

23   14:13:21   23         A.     Yes.

24   14:13:28   24         Q.     Okay.    How -- was there ever a point where

25   14:13:30   25    you stopped seeing oil in your system?



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 1   14:13:31    1         A.   No.

 2   14:13:33    2         Q.   So up until the point that the FPS freezer

 3   14:13:37    3    was removed, you were still seeing oil in the system?

 4   14:13:38    4         A.   Yes, and we still are today.

 5   14:13:40    5         Q.   From the GEA freezer?

 6   14:13:43    6         A.   Yeah, oil is always in the system -- every

 7   14:13:45    7    refrigeration system.

 8   14:13:48    8         Q.   Up until the FPS freezer was removed, were

 9   14:13:53    9    you seeing more oil in the system than in your

10   14:13:55   10    experience you've typically seen before?

11   14:13:58   11         A.   At the beginning, yes.   But once we got the

12   14:14:02   12    synthetic oil put in and we worked to clean the pipes

13   14:14:06   13    and all that that after time the oil in the lines

14   14:14:09   14    became more consistent with what it should be.

15   14:14:12   15         Q.   And I know that this might be a difficult

16   14:14:15   16    question for you to answer, but approximately when did

17   14:14:20   17    that occur -- where you were still seeing oil in the

18   14:14:23   18    system, but it was what it believed it should have

19   14:14:26   19    been -- at the level you believed it should have been?

20   14:14:29   20         A.   Yeah, I can't -- can't tell you that.

21   14:14:33   21         Q.   Looking at your May 3, 2017, email, did you

22   14:14:37   22    believe in or around May 3, 2017, that oil in the

23   14:14:39   23    system was about the amount it should have been, or

24   14:14:42   24    were you still seeing too much oil?

25   14:14:49   25         A.   I can't tell you.



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 1   14:14:50   1         Q.      Okay.   Let's look at Exhibit 164.

 2   14:15:09    2         MR. WATKINS:     164.   It's Docket 32, Bates No.

 3   14:15:13    3    DFF 00034 through 39.

 4   14:15:29   4                 (Exhibit 164 marked.)

 5   14:15:32    5         Q.     (BY MR. WATKINS)    This is a May 3, 2017,

 6   14:15:37    6    email string between Drew Provard and several

 7   14:15:43    7    individuals at Dickinson, as well as Nestle, including

 8   14:15:48    8    yourself.    To it is attached several lists of kind of

 9   14:15:52    9    to-do items or I think what is referred to as punch

10   14:15:52   10    list items.

11   14:15:54   11                Do you see those?

12   14:15:56   12         A.     Uh-huh.

13   14:16:02   13         Q.     Focusing for now just on DFF 00035, the 14

14   14:16:07   14    point list, No. 1 says "Oil was changed last week.

15   14:16:09   15    This includes removing as much oil as possible,

16   14:16:13   16    cleaning strainers, and installing drain valves at the

17   14:16:15   17    bottom of each coil."

18   14:16:18   18                So a week before -- or sometime in the week

19   14:16:24   19    prior to May 3, 2017, was when the day plus shutdown

20   14:16:27   20    occurred to remove all the oil?

21   14:16:28   21         A.     I would think so, yes.

22   14:16:37   22         Q.     Okay.   No. 3 says "Hot gas regulator on No.

23   14:16:38   23    1 was leaking."

24   14:16:43   24                What does that mean?

25   14:16:47   25         A.     Oh, that it was leaking.



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 1   14:17:58    1    Counsel, so I would ask that you rephrase.

 2   14:18:00    2         Q.   (BY MR. WATKINS)    Based off of the meetings

 3   14:18:03    3    that you attended, were you aware that water was

 4   14:18:06    4    manually sprayed at the freezer, whether or not you

 5   14:18:08    5    personally observed it?

 6   14:18:10    6         A.   I don't remember it, no.

 7   14:18:11    7         Q.   Okay.   I think you also testified earlier

 8   14:18:13    8    that the maintenance department was responsible for

 9   14:18:14    9    water; is that right?

10   14:18:19   10         A.   We were responsible for the initial

11   14:18:22   11    installation of the pipe for the water.

12   14:18:26   12         Q.   Okay.   So in No. 9 where it says "Water

13   14:18:31   13    valves failed," is that a Dickinson maintenance issue,

14   14:18:34   14    or is that a Kemper issue?    Who is responsible for --

15   14:18:36   15         A.   It would be DFF.

16   14:18:38   16         Q.   Okay.   And water is shut off.   Do you know

17   14:18:45   17    why the water was shut off in or around May 3, 2017?

18   14:18:47   18         A.   No, I don't know what is going on here.

19   14:18:51   19         Q.   Had water been shut off in the facility

20   14:18:52   20    before?

21   14:18:55   21         A.   I don't know that I was -- no.    And I don't

22   14:18:57   22    know that I was here.    I may have been on the vacation

23   14:19:01   23    or something.   When was this?   May.

24   14:19:03   24         Q.   May 3, 2017.    If you look at the

25   14:19:04   25    attendees --



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 1   14:19:08    1         A.     Yeah, I see that.   But when this water valve

 2   14:19:12    2    shut off, was it shut off on May 3?     I don't know.      I

 3   14:19:14    3    don't know anything about these water valves being

 4   14:19:15    4    shut off.

 5   14:19:18    5         Q.     Okay.   Okay.

 6   14:19:20    6         A.     Unless we had one leaking up on the roof or

 7   14:19:23    7    something, and they had to shut down to fix that.       I

 8   14:19:23    8    don't know.

 9   14:19:26    9         Q.     Okay.   Who -- do you have like a number two

10   14:19:30   10    or someone who is your second if you are out of --

11   14:19:32   11         A.     Yeah, it would be Daren.

12   14:19:36   12         Q.     Okay.   Would Daren be someone who might know

13   14:19:38   13    about the water supply shut off?

14   14:19:40   14         A.     He might, yes.

15   14:19:42   15         Q.     No. 12 says "Design of tunnel is about 8,000

16   14:19:46   16    pounds an hour at zero degrees Fahrenheit.       Surface

17   14:19:51   17    temperature only getting about 55 to 6,000 pounds an

18   14:19:55   18    hour currently.     Tunnel is more consistent.

19   14:19:57   19    Fulfilling orders can be planned better now."

20   14:20:00   20                During this meeting, can you describe the

21   14:20:02   21    conversations concerning bullet point 12?

22   14:20:03   22         A.     No.

23   14:20:06   23         Q.     Was there ever a point that Sergio or

24   14:20:11   24    Mr. Campbell or anyone else at Dickinson alerted you

25   14:20:14   25    to the fact of whether or not Dickinson was better



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 1   14:20:16    1    able to fulfill customer orders?

 2   14:20:16    2         A.   No.

 3   14:20:19    3         MR. BOLINGER:    Object.    Go ahead.   I'm sorry.    I

 4   14:20:22    4    didn't mean to interrupt your question, Counsel.       I

 5   14:20:23    5    thought you were done.

 6   14:20:24    6         Q.   (BY MR. WATKINS)      Was there ever a point

 7   14:20:27    7    where you had any conversations with anyone at

 8   14:20:29    8    Dickinson where it was discussed that production was

 9   14:20:33    9    able to better and more consistently fulfill orders of

10   14:20:37   10    customers after certain things had been resolved in

11   14:20:40   11    the ammonia system or the freezer system?

12   14:20:41   12         MR. BOLINGER:    Object to the characterization.

13   14:20:44   13    Assumes facts not in evidence.

14   14:20:48   14         THE WITNESS:    No.

15   14:20:51   15         Q.   (BY MR. WATKINS)      You can flip to the second

16   14:21:04   16    page, it's DFF 00036.      This is a 31-page punch list.

17   14:21:07   17              Have you seen this punch list before?

18   14:21:08   18         MR. BOLINGER:    Counsel, I believe you misspoke.

19   14:21:12   19    It's 31 points not 31 pages.

20   14:21:13   20         MR. WATKINS:    Thank you.

21   14:21:16   21         Q.   (BY MR. WATKINS)      A 31 point punch list.

22   14:21:18   22              Have you seen the punch list before?

23   14:21:20   23         A.   Let me look through it.

24   14:21:42   24         Q.   Sure.

25   14:21:44   25         A.   I believe I remember this, yes.



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 1   14:21:47    1         Q.   Okay.    Was this a working document that the

 2   14:21:50    2    group in attendance at these meetings were working

 3   14:21:54    3    their ways through or how did this come to be?

 4   14:21:57    4         A.   I believe this was a working punch list.

 5   14:22:00    5         Q.   Do you have any idea as to what the various

 6   14:22:01    6    colors mean --

 7   14:22:01    7         A.   No.

 8   14:22:03    8         Q.   -- the dark blue, green and yellow?

 9   14:22:04    9         A.   No.

10   14:22:08   10         Q.   Okay.    And I'm happy to go through every one

11   14:22:12   11    of these items, if you'd like, but -- and you can

12   14:22:15   12    correct me if you believe I'm wrong.    Based on my

13   14:22:21   13    review it appears that Punch List Item No. 4, rise in

14   14:22:26   14    pipe in freezer after coil; Punch List Item No. 15,

15   14:22:31   15    balancing fan on discharge; and Punch List Item

16   14:22:36   16    No. 29, overlap hot gas with pump out of next coil are

17   14:22:42   17    punch list items that are to be addressed or somehow

18   14:22:42   18    involved FPS?

19   14:22:47   19         A.   The balance fan would be FPS.

20   14:22:52   20         Q.   Okay.    The balance fan is No. 15?

21   14:22:54   21         A.   Yes.    I believe, yes.

22   14:22:59   22         Q.   How about No. 4?    "Rise in pump in freezer

23   14:23:04   23    after coil," and it says "Liquid inlet/defrost outlet

24   14:23:07   24    has an elevation change, possibly trapping liquid.         To

25   14:23:10   25    be addressed at later date after other issues



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 1   14:23:10    1    addressed."

 2   14:23:11    2           A.   That would be on FPS.

 3   14:23:16    3           Q.   Okay.   And then No. 29, "Overlap hot gas

 4   14:23:20    4    with pump out of next coil.      FPS should adjust

 5   14:23:23    5    programming to allow an overlap of hot gas defrost of

 6   14:23:25    6    one coil and beginning pump down on the next coil in

 7   14:23:27    7    the defrost sequence"?

 8   14:23:29    8           A.   That would be FPS.

 9   14:23:30    9           Q.   That's an FPS issue.

10   14:23:33   10                And, again, I'm happy to go through each one

11   14:23:37   11    of these one by one, but are there any other FPS

12   14:23:39   12    issues, other than those three, that you can identify

13   14:23:41   13    in this 31 point list?

14   14:23:43   14           MR. BOLINGER:   I'm going to object to that to the

15   14:23:47   15    degree -- unless you want him to read every single

16   14:23:49   16    one.    If you want to sit here and have him read

17   14:23:52   17    through the entire document, I guess you can ask that

18   14:23:54   18    question but -- yeah, he's also not qualified to opine

19   14:24:00   19    upon responsibilities; so calls for opinion testimony.

20   14:24:04   20    He can testify to it as to his personal knowledge.

21   14:24:05   21           Q.   (BY MR. WATKINS)   All right.   Based on your

22   14:24:09   22    personal knowledge, take a look at No. 1.      "Shaker

23   14:24:13   23    belt centered for dewatering/Dynovac."

24   14:24:16   24                Does the dewatering/Dynovac occur inside the

25   14:24:18   25    FPS or outside the FPS system?



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 1   14:24:18    1           A.    Outside.

 2   14:24:21    2           Q.    Okay.   "The belt feeding the shaker at the

 3   14:24:26    3    tunnel intake is not centered on the shaker.       DFF to

 4   14:24:26    4    make this adjustment."

 5   14:24:28    5                 Is that an FPS issue or a Dickinson issue?

 6   14:24:28    6           A.    Dickinson.

 7   14:24:30    7           Q.    Okay.   "No. 2.   Spreading of product on the

 8   14:24:33    8    belt.    Product should be spread out more across the

 9   14:24:36    9    belt for better moisture and heat removal."

10   14:24:38   10                 Who is responsible for spreading product on

11   14:24:39   11    the belt?

12   14:24:40   12           A.    It would be DFF.

13   14:24:44   13           Q.    The third one, "No. 5.    DFF" -- or sorry.

14   14:24:48   14    "No. 5.     DC check valve possibly stuck open.    Kemper

15   14:24:53   15    to replace check valve on 4/7/17 and inspect the valve

16   14:24:56   16    the following week to determine if others should be

17   14:24:57   17    replaced as well."

18   14:25:00   18                 Is that a Dickinson or Kemper issue or FPS

19   14:25:00   19    issue?

20   14:25:01   20           A.    That would be Kemper.

21   14:25:04   21           Q.    Okay.   No. 4 -- we've already addressed that

22   14:25:05   22    one.

23   14:25:08   23                 "No. 5.    Suction riser size and angle.

24   14:25:13   24    Suction riser from each coil may be oversized not

25   14:25:16   25    allowing liquid to return to the LPR.       There are also



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 1   14:25:19    1    offsets in the riser that could be an issue as well.

 2   14:25:22    2    To be assessed at a later date after other issues have

 3   14:25:24    3    been addressed."

 4   14:25:25    4               Do you know who was responsible for the

 5   14:25:29    5    suction riser and its size?

 6   14:25:31    6          A.   I'm not going to say.    No, I don't.

 7   14:25:33    7          Q.   Okay.   Do you know what the suction riser

 8   14:25:34    8    is?

 9   14:25:34    9          A.   No.

10   14:25:37   10          Q.   Do you know where it's located in relation

11   14:25:37   11    to --

12   14:25:40   12          A.   I believe it's on the outside of the tunnel.

13   14:25:42   13          Q.   Okay.   Do you know if Kemper installed the

14   14:25:44   14    suction riser?

15   14:25:44   15          A.   Yes.

16   14:25:47   16          Q.   Okay.   Do you know if Kemper is the one who

17   14:25:49   17    selected the size of the suction riser?

18   14:25:51   18          A.   I do not know who did that.

19   14:25:53   19          Q.   Okay.   "No. 6.   Precooler expansion valve

20   14:25:57   20    controller set incorrectly.     The super heat controller

21   14:26:00   21    was set up incorrectly the first time.     Kemper has

22   14:26:03   22    gone through the setup again and it is now correct."

23   14:26:03   23               Was Kemper -- do you know who was

24   14:26:08   24    responsible for initially setting up the super heat

25   14:26:08   25    controller?



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 1   14:26:09    1         A.   I don't know for -- no.

 2   14:26:12    2         Q.   Okay.    But it looks like Kemper was the one

 3   14:26:14    3    who resolved that issue?

 4   14:26:14    4         A.   Yes.

 5   14:26:17    5         Q.   Okay.    "No. 7.   Too cold of liquid to

 6   14:26:20    6    precooler.    High pressure liquid feeding the precooler

 7   14:26:24    7    evaporator may be subcooled too much from the liquid

 8   14:26:27    8    returning to the subcooler vessel during defrost.

 9   14:26:31    9    Kemper has adjusted the pressure regulator to increase

10   14:26:33   10    the subcooled liquid temperature and recommended the

11   14:26:35   11    pump out time prior to defrost is increased.     See

12   14:26:35   12    below."

13   14:26:38   13              Is that a Kemper issue or an FPS issue or a

14   14:26:40   14    Dickinson issue?

15   14:26:45   15         A.   It's not a Dickinson.

16   14:26:48   16         Q.   Who is responsible for moving liquid from

17   14:26:52   17    the evaporator to the returning subcooler vessel?

18   14:26:53   18         A.   That would be Kemper.

19   14:26:56   19         Q.   Okay.    No. 8, talks about "The old

20   14:27:00   20    compressor is loaded up more than the new compressor.

21   14:27:02   21    The 500 compressor was loaded more than the new

22   14:27:05   22    compressor.    Kemper has cleaned the line to the

23   14:27:07   23    pressure transducer, which seems to have solved the

24   14:27:08   24    issue."

25   14:27:10   25              What does that mean that it was loaded more.



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 1   14:27:10    1         MR. BOLINGER:    Object to --

 2   14:27:12    2         THE WITNESS:    You can load a compressor in order

 3   14:27:16    3    from zero percent to 100 percent.

 4   14:27:17    4         MR. WATKINS:    Okay.

 5   14:27:20    5         THE WITNESS:    If the 800 was loaded at 80 and the

 6   14:27:24    6    500 was at 85, then the 500 was loaded more than 800.

 7   14:27:25    7         Q.   (BY MR. WATKINS)    Okay.   Who was the one

 8   14:27:28    8    that decided how much load would go to the 500

 9   14:27:29    9    compressor?

10   14:27:32   10         A.   The system itself decides that.     We don't

11   14:27:35   11    manually do it.   It is automatic.

12   14:27:35   12         Q.   Okay.

13   14:27:37   13         A.   You can manually load and unload.

14   14:27:37   14         Q.   Okay.

15   14:27:39   15         A.   But the compressor is on automatic so it

16   14:27:40   16    does it itself.

17   14:27:42   17         Q.   So when you say "the system," you are

18   14:27:44   18    referring to the compressor system?

19   14:27:44   19         A.   Yes.

20   14:27:46   20         Q.   And the compressor system was installed by

21   14:27:47   21    Kemper?

22   14:27:47   22         A.   Yes.

23   14:27:51   23         Q.   Okay.   "Suction valve closing and soft gas

24   14:27:55   24    timer can be changed from 5 min to 30 seconds.       The

25   14:27:57   25    five minute gap was unnecessary as there would be no



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 1   14:28:01    1    flow, refrigeration, or heating during this gap.

 2   14:28:05    2    Production has adjusted this to minimize delays."

 3   14:28:05    3                Who is production?

 4   14:28:08    4         A.     DFF.

 5   14:28:10    5         Q.     DFF.    So that's an operations issue?

 6   14:28:11    6         A.     Yes.

 7   14:28:15    7         Q.     Okay.    "10.   Dry cleaning.   Between product

 8   14:28:19    8    cycles, production should minimize water use during

 9   14:28:23    9    clean up.    Tunnel belts should be shut off if water is

10   14:28:25   10    used to clean the area nearby."

11   14:28:27   11                Who is responsible for the cleaning of the

12   14:28:27   12    freezer?

13   14:28:29   13         A.     DFF.

14   14:28:31   14         Q.     "11.    Scrap production.   Although not a

15   14:28:32   15    major part of the tunnel process, reducing scrap

16   14:28:36   16    products should be stressed to improve efficiency to

17   14:28:37   17    the overall system."

18   14:28:37   18                Who is responsible for scrap production?

19   14:28:40   19         A.     DFF.

20   14:28:42   20         Q.     "No. 12.    Water or no water in freezer.

21   14:28:46   21    Water piping in tunnel is currently off and is sprayed

22   14:28:49   22    manually during defrost.       This should be turned back

23   14:28:52   23    on once other issues have been addressed to minimize

24   14:28:55   24    open doors and personnel in the freezer.        Dickinson to

25   14:28:58   25    replace water valves and attempt to run water again."



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 1   14:28:59    1              Is this a Dickinson issue?

 2   14:28:59    2         A.   Yes.

 3   14:29:04    3         Q.   In addition to just the water being shut

 4   14:29:06    4    off, is opening the doors and personnel entering the

 5   14:29:10    5    freezer a personnel issue or a Dickinson issue?

 6   14:29:12    6         A.   That would be a Dickinson issue.

 7   14:29:15    7         Q.   "No. 13.    Expansion valve sizing.   Liquid

 8   14:29:18    8    expansion valves to the freezer coils have been

 9   14:29:21    9    checked and are sized properly for the application."

10   14:29:23   10              Do you know who is responsible for the

11   14:29:24   11    liquid expansion valves?

12   14:29:25   12         A.   It would be Kemper.

13   14:29:29   13         Q.   Okay.    "No. 14.   Door baffles inside freezer

14   14:29:32   14    remain closed.    Stress to production personnel that

15   14:29:34   15    the baffle doors in the freezer should remain closed

16   14:29:36   16    as much as possible."

17   14:29:37   17              Who is responsible for controlling the

18   14:29:38   18    staff?

19   14:29:39   19         A.   DFF.

20   14:29:40   20         Q.   No. 15 we talked about.

21   14:29:44   21              "No. 16.    Oils in coils.   Oil in the coils

22   14:29:49   22    should be an issue during refrigeration and defrost.

23   14:29:51   23    This has been checked, and there is no major amounts

24   14:29:54   24    of oil in the coils.    This should be inspected any

25   14:29:58   25    time the coils can be pumped down during a shutdown."



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 1   14:29:59    1                Who is responsible for checking the oil in

 2   14:30:00    2    the coils?

 3   14:30:01    3         A.     DFF.

 4   14:30:02    4         Q.     "No. 17.   Testing ammonia for

 5   14:30:07    5    contaminants/water.     Water in the ammonia can cause

 6   14:30:09    6    issues in the low side of the system.      This was

 7   14:30:13    7    checked by Kemper on 4/6/17, and there was not any

 8   14:30:14    8    significant amount of water."

 9   14:30:17    9                Who is responsible for that?

10   14:30:20   10         A.     Well, Kemper is responsible for doing it.

11   14:30:25   11    DFF is responsible for having Kemper do it.

12   14:30:28   12         Q.     Okay.   "18.   Blancher water in drain to be

13   14:30:30   13    checked on the next shutdown by production."

14   14:30:32   14                Who is responsible for blancher water in the

15   14:30:33   15    drain?

16   14:30:34   16         A.     DFF.

17   14:30:36   17         Q.     "Air in system," No. 19.    "Air in the system

18   14:30:40   18    can lower system performance.      Maintenance should

19   14:30:41   19    continually check that the auto purger is running as

20   14:30:43   20    needed.    No significant amount of air has been

21   14:30:47   21    noticed.    Purge count was 37 as of 4/5/17.    Assuming

22   14:30:51   22    the counter has not been reset since original

23   14:30:51   23    install."

24   14:30:52   24                Who is that?

25   14:30:53   25         A.     Who is responsible for --



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 1   14:30:56    1         Q.    No. 19.

 2   14:30:57    2         A.    DFF.

 3   14:30:59    3         Q.    Okay.    Where it says "maintenance should

 4   14:31:03    4    continually check that the auto purger is running,"

 5   14:31:07    5    did you or your maintenance department do anything to

 6   14:31:08    6    follow No. 19?

 7   14:31:11    7         A.    Yes.    I personally checked it every morning.

 8   14:31:11    8         Q.    You do?

 9   14:31:14    9         A.    Yep.    Both of them, A Lines and B Lines.

10   14:31:18   10         Q.    Okay.    "No. 20.   Check Pump No. 2 and bypass

11   14:31:22   11    valve.    Pump No. 2 has been able to run if

12   14:31:27   12    removing" -- strike that -- "Pump No. 2 has not been

13   14:31:31   13    able to run.    If removing oil from the piping and pump

14   14:31:32   14    does not work, the pump should be removed and

15   14:31:36   15    inspected.    Kemper has attempted to start the pump

16   14:31:40   16    again with no success.     Kemper to pull out pump and

17   14:31:42   17    inspect during next site visit."

18   14:31:45   18               Who is responsible to make sure Pump No. 2

19   14:31:46   19    is working?

20   14:31:49   20         A.    Both DFF and Kemper.

21   14:31:51   21         Q.    I think you testified earlier that you were

22   14:31:53   22    not aware of Pump No. 2 not working.

23   14:31:57   23               Does this bullet No. 20 refresh your

24   14:31:58   24    recollection at all?

25   14:31:59   25         A.    Yes, it does.



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 1   14:32:00    1         Q.     How so?

 2   14:32:03    2         A.     It -- I do remember now that Kalob had to

 3   14:32:06    3    come and pull the pump apart, and he found no problem

 4   14:32:08    4    in the pump -- if I remember correctly.

 5   14:32:10    5         Q.      Do you have any idea as to why it wasn't

 6   14:32:10    6    starting?

 7   14:32:13    7         A.     The only thing I can think of is that it was

 8   14:32:13    8    cavitating.

 9   14:32:15    9         Q.     What does that mean?

10   14:32:15   10         A.     An air gap.

11   14:32:17   11         Q.     There is an air gap in the pump?

12   14:32:20   12         A.     So it was moving air but not liquid.

13   14:32:22   13         Q.     What function does the pump serve in the

14   14:32:25   14    overall system?     What does it do?

15   14:32:26   15         A.     It the pumps -- it pumps the liquid ammonia

16   14:32:28   16    to the compressors -- or to the coils.

17   14:32:31   17         Q.     Okay.   And I think you testified earlier

18   14:32:34   18    that it's the liquid ammonia that provides the cooling

19   14:32:34   19    capacity?

20   14:32:35   20         A.     Correct.

21   14:32:39   21         Q.     "No. 21.   Oil in liquid strainers.   Small

22   14:32:42   22    amounts of oil in the strainers at cold temperatures

23   14:32:46   23    can cause blockage, which could starve the coils.

24   14:32:51   24    Kemper is to clean all liquid strainers on 4/7/17 and

25   14:32:54   25    should be checked again in a week to check for



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 1   14:32:55    1    additional oil buildup."

 2   14:32:57    2                Who is responsible for that?

 3   14:32:58    3         A.     Kemper.

 4   14:33:01    4         Q.     What does it mean when it says that oil

 5   14:33:04    5    can -- or could starve the coils?

 6   14:33:05    6         A.     Plug the strainers.

 7   14:33:12    7         Q.     Okay.    "22.   Artificial load.   An artificial

 8   14:33:15    8    load can cause process losses.       The compressor are

 9   14:33:21    9    fully loaded when no product is running.        They unload

10   14:33:24   10    it once the check valves were isolated during defrost.

11   14:33:26   11    Continue to monitor check valves and hot gas valves

12   14:33:27   12    during defrost for any leaks or backflows into the

13   14:33:28   13    coils."

14   14:33:37   14                Whose job was that?

15   14:33:39   15         A.     That would be DFF.

16   14:33:42   16         Q.     "No. 23.    Oil in system.   Pump and

17   14:33:45   17    strainers.    Oil may be stuck throughout the system in

18   14:33:48   18    piping strainers, pumps, coils.       Oil replaced no

19   14:33:51   19    longer draining from subcooler."

20   14:33:53   20                Is that a DFF issue?

21   14:33:55   21         A.     Yes.

22   14:33:58   22         Q.     "24.    Raise pump out times to 15, 20

23   14:34:02   23    minutes.    Production to adjust program to improve

24   14:34:02   24    defrost."

25   14:34:03   25                Who is production?



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 1   14:34:04    1           A.   DFF.

 2   14:34:07    2           Q.   "No. 25.    Oil tracking.   Maintenance should

 3   14:34:09    3    track any oil leaking from the compressors, including

 4   14:34:15    4    small drips, and also track all oil being charged into

 5   14:34:19    5    the compressors.      This will tell us how much oil is

 6   14:34:20    6    being lost to the system."

 7   14:34:21    7                Whose job is that?

 8   14:34:22    8           A.   DFF.

 9   14:34:23    9           Q.   I think you testified earlier that

10   14:34:28   10    maintenance maintains ammonia logs, which also track

11   14:34:29   11    oil?

12   14:34:29   12           A.   Yes.

13   14:34:32   13           Q.   Would that be captured in this No. 25?

14   14:34:32   14           A.   Yes.

15   14:34:36   15           Q.   "No. 26.    Kemper to check" -- "Lowest head

16   14:34:39   16    pressure for compressor.      Kemper to check with

17   14:34:42   17    FES/GEA."

18   14:34:43   18                Do you know what that's referring to?

19   14:34:43   19           A.   No.

20   14:34:46   20           Q.   Okay.    But at any rate, it's a Kemper issue?

21   14:34:46   21           A.   Yes.

22   14:34:50   22           Q.   "No. 27.    Oil recommendations from FES."

23   14:34:54   23    Again, "Kemper to check with FES and GEA"; right?

24   14:34:54   24           A.   Right.

25   14:34:57   25           Q.   It sounds like a Kemper job?



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 1   14:34:57    1         A.    Yes.

 2   14:35:01    2         Q.    "No. 28.   Strainer screens.    If oil

 3   14:35:05    3    continues to clog the liquid strainers, possibly use a

 4   14:35:09    4    courser mesh to allow oil to pass through.      Kemper to

 5   14:35:11    5    check with Danfoss on options available."

 6   14:35:13    6               Whose job is that?

 7   14:35:13    7         A.    Kemper.

 8   14:35:15    8         Q.    What is Danfoss?

 9   14:35:18    9         A.    Danfoss is a maker of valves.

10   14:35:22   10         Q.    Okay.   Number -- we talked about No. 29.

11   14:35:26   11    Going on to No. 30.     "Amps on pump.   3.8 amps on

12   14:35:32   12    meter.    2.8 to 2.9 on panel display.    Kemper to

13   14:35:35   13    investigate discrepancy.     Ideal pump amps should also

14   14:35:36   14    be around 4.7 amps during full load.      This may be

15   14:35:40   15    fixed once oil has been cleaned from the system."

16   14:35:43   16               Whose job is that?

17   14:35:43   17         A.    Kemper.

18   14:35:44   18         Q.    All right.    And the last one.   "31.   Check

19   14:35:52   19    pump curve for amps/HP range.     Kemper to get the

20   14:35:52   20    updated pump curve from Teikoku."

21   14:35:53   21         A.    Teikoku.

22   14:35:57   22         Q.    T-E-I-K-O-K-U.

23   14:35:58   23               Whose job is that?

24   14:35:58   24         A.    Kemper.

25   14:36:01   25         Q.    Okay.   And what is that referring to, the



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 1   14:36:02    1    pump curve?

 2   14:36:05    2         A.     What the pump can do at heights.      Efficiency

 3   14:36:08    3    drops off the higher you go.

 4   14:36:09    4         Q.     Okay.

 5   14:36:10    5         A.     So that's pump curve.

 6   14:36:13    6         Q.     So we just worked our way through these 31

 7   14:36:17    7    bullet points.      I'll ask my question again.    Of the 31

 8   14:36:19    8    points, is it accurate to say that only three of them

 9   14:36:21    9    dealt with FPS?

10   14:36:27   10         A.     I didn't write down what we decided on each

11   14:36:29   11    one, but, yeah, I would say you are right.

12   14:36:33   12         Q.     And that was as of May 3, 2017; correct?

13   14:36:34   13         A.     Yes.

14   14:36:41   14        Q.      Let's go ahead and look at Exhibit 165 -- or

15   14:36:53   15    I'm sorry -- Exhibit 82 previously produced.

16   14:36:55   16                Exhibit 82 is a fairly lengthy email.       I'm

17   14:36:58   17    just going to be focusing on the first page so save

18   14:37:00   18    your breath.

19   14:37:00   19         A.     Okay.

20   14:37:03   20         Q.     This is an email from Jason Kwok to

21   14:37:06   21    yourself.    At the bottom of this document it's dated

22   14:37:11   22    May 24, 2017.      I'm going to start reading on the

23   14:37:16   23    second line down.      "But RTD No. 6 readout fluctuated

24   14:37:24   24    from negative 28.5 DF to negative 43.8 DF.        The

25   14:37:29   25    difference is 15.3 DF.      Needless to say, the air



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 1   14:37:31    1    temperature will follow the coil temperature to

 2   14:37:35    2    change.   Do you have any idea why the suction

 3   14:37:37    3    temperature keep changing?"

 4   14:37:40    4                What did you understand Mr. Kwok to be

 5   14:37:49    5    discussing here?

 6   14:37:50    6         MR. BOLINGER:      Object to the form of the

 7   14:38:04    7    question.

 8   14:38:05    8         THE WITNESS:      No.   No, that was -- he was

 9   14:38:08    9    getting -- asking questions that I couldn't answer.

10   14:38:12   10    That's why I told him I wanted him to come and watch

11   14:38:14   11    for himself and see what was going on.

12   14:38:16   12         Q.     (BY MR. WATKINS)     Yeah.   Yeah.   And that's

13   14:38:18   13    your second email where you say "This is why I suggest

14   14:38:20   14    you to come watch things."

15   14:38:22   15         A.     Exactly.    Because I had no idea what was

16   14:38:23   16    going on there.

17   14:38:25   17         Q.     Did you understand that -- did you have any

18   14:38:32   18    understanding that negative 40 degrees suction was to

19   14:38:35   19    be provided at the coil in order for the FPS freezer

20   14:38:37   20    to function properly?

21   14:38:40   21         A.     I was never specifically told that.       I just

22   14:38:43   22    heard it in conversations that weren't even directed

23   14:38:44   23    at me.

24   14:38:45   24         Q.     You are sitting in the room and it's --

25   14:38:45   25         A.     Correct.



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 1   14:38:50    1         Q.    Okay.    And here Mr. Kwok is telling you that

 2   14:38:55    2    that's not happening.      It's jumping between 28.5

 3   14:38:59    3    negative to negative 43.8?

 4   14:38:59    4         A.    Correct.

 5   14:39:01    5         MR. BOLINGER:     Objection.

 6   14:39:03    6         THE WITNESS:     Sorry.

 7   14:39:05    7         Q.    (BY MR. WATKINS)      Did you say "correct"?

 8   14:39:05    8         A.    I did.

 9   14:39:12    9         Q.    Okay.    Did Mr. Kwok eventually come out to

10   14:39:16   10    visit FPS -- or I'm sorry -- to visit Dickinson?

11   14:39:17   11         A.    I believe he did.

12   14:39:20   12         Q.    Okay.    You've met Mr. Kwok before?

13   14:39:23   13         A.    I'm not sure.      There were so many of those

14   14:39:28   14    guys that -- I mean, they were sending guys left and

15   14:39:28   15    right.

16   14:39:28   16         Q.    Okay.

17   14:39:31   17         A.    And I can't remember all their names.

18   14:39:34   18         Q.    Sure.    No.   That's fair.   That's fair.

19   14:39:36   19    Let's look at what's been previously produced as

20   14:39:38   20    Exhibit No. 130.

21   14:39:40   21         MR. WATKINS:     We will take a break after this

22   14:39:50   22    exhibit.

23   14:39:52   23         MR. BOLINGER:     What did you say?    130?

24   14:39:53   24         MR. WATKINS:     Yeah.

25   14:39:55   25         Q.    (BY MR. WATKINS)      This is an email from



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 1   14:40:00    1    yourself to Eric York.     There it references some

 2   14:40:04    2    attached jpg pictures, which are not included with

 3   14:40:06    3    this email, but I'm asking -- I'm just going to ask

 4   14:40:08    4    you a question about the cover email.

 5   14:40:12    5                You sent an email to Eric/Loney.     "I went up

 6   14:40:14    6    on the roof this morning and took these pictures.

 7   14:40:18    7    They are in order from Zone 1 to Zone 6, and the pump

 8   14:40:22    8    after the zones.     No. 4 was in hot gas.    While taking

 9   14:40:24    9    these pictures, there seems to be something wrong

10   14:40:30   10    here.    Pipes totally frozen, pipes frosted over, pipes

11   14:40:32   11    frozen on the opposite side of the check valves, et

12   14:40:35   12    cetera, et cetera.     Need some answers.    Sergio said

13   14:40:39   13    that there has not been any difference since these

14   14:40:41   14    check valves were changed out, and they are definitely

15   14:40:43   15    not working like my understanding they are supposed

16   14:40:44   16    to."

17   14:40:45   17                What was your understanding as to how the

18   14:40:47   18    check valves were supposed to be working?

19   14:40:50   19           A.   That they were supposed to open to allow

20   14:40:53   20    liquid or gas through, and when it was called for,

21   14:40:56   21    they were to close off and not allow it through.

22   14:40:56   22           Q.   Okay.

23   14:40:58   23           A.   And I was still seeing frosted pipes, which

24   14:41:01   24    told me I was still getting ammonia through.

25   14:41:05   25           Q.   Okay.   And this was after Kemper had already



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 1   14:41:07    1    replaced them?

 2   14:41:08    2           MR. BOLINGER:    Object to the foundation.

 3   14:41:17    3           THE WITNESS:    I can't remember.   I can't

 4   14:41:18    4    remember.

 5   14:41:20    5           Q.   (BY MR. WATKINS)    The second line from the

 6   14:41:23    6    bottom it says "Sergio said that there has been" --

 7   14:41:27    7    "that there has not been any difference since these

 8   14:41:31    8    check valves were changed out, and they are definitely

 9   14:41:33    9    not working like I understand them to be."

10   14:41:35   10                Does that refresh your recollection any as

11   14:41:38   11    to whether or not these check valves had been

12   14:41:40   12    previously changed out?

13   14:41:42   13           MR. BOLINGER:    Object to foundation.

14   14:41:46   14           THE WITNESS:    No, it doesn't.

15   14:41:48   15           Q.   (BY MR. WATKINS)    All right.   But at any

16   14:41:50   16    rate, they weren't operating the way you thought they

17   14:41:50   17    should?

18   14:41:50   18           A.   Correct.

19   14:41:54   19           Q.   What, if anything, did Mr. York or Kemper do

20   14:41:57   20    as a result of this email for you?

21   14:42:02   21           A.   I believe that Kalob was sent back up to

22   14:42:04   22    look at them.

23   14:42:07   23           Q.   Okay.   And did Kalob communicate anything to

24   14:42:07   24    you?

25   14:42:10   25           A.   I cannot remember what we ended up doing.



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 1   14:42:12    1         Q.   You don't know if you replaced them or

 2   14:42:15    2    repaired them or anything?

 3   14:42:18    3         A.   If they were replaced once already, it was

 4   14:42:21    4    probably just a matter of cleaning them out again.

 5   14:42:21    5         Q.   Okay.   Let's --

 6   14:42:23    6         A.   If they replaced them, they would have went

 7   14:42:26    7    to the different brand like Hansen or something like

 8   14:42:27    8    that.

 9   14:42:28    9         Q.   They would have thought "We've got a bad

10   14:42:29   10    brand here.   We will go to something else."

11   14:42:29   11              Do you know if that occurred, if you went to

12   14:42:29   12    a different brand?

13   14:42:33   13         A.   I know they changed some out to Hansen's.

14   14:42:38   14    Exactly which ones, I can't tell you.

15   14:42:38   15         Q.   Or when?

16   14:42:40   16         A.   Or when.

17   14:42:41   17         MR. WATKINS:    Okay.   Let's go ahead and take a

18   14:42:44   18    break.

19   14:42:52   19         THE VIDEOGRAPHER:    We are off the record at 2:42.

20   14:42:52   20              (Recess taken from 2:42 p.m. to 2:56 p.m.)

21   14:56:20   21         THE VIDEOGRAPHER:    We are back on the record at

22   14:56:23   22    2:55.

23   14:56:24   23         MR. WATKINS:    All right.   Well, let's hand the

24   14:56:34   24    witness Exhibit 160 -- 165.

25   14:56:44   25              (Exhibit 165 marked.)



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 1   14:56:49    1         Q.   (BY MR. WATKINS)    Mr. Rebmann, this is an

 2   14:56:55    2    email exchange between yourself and Loney Larson.      I

 3   14:56:58    3    believe you testified earlier Mr. Larson is at Kemper

 4   14:56:59    4    Northwest; is that right?

 5   14:57:00    5         A.   He was.

 6   14:57:01    6         Q.   He was.

 7   14:57:06    7              Do you know when he left?

 8   14:57:07    8         A.   The exact date, no.

 9   14:57:14    9         Q.   Okay.   In his May 16 email to you, he says

10   14:57:19   10    "Bob, yesterday on the timer pick Zone 5 had 10 min

11   14:57:23   11    defrost and 4 was at 15.    If these guys continue to

12   14:57:26   12    change numbers at will, it will not be something that

13   14:57:31   13    we can assist with.    A moving target isn't mechanical.

14   14:57:32   14    It's operational."

15   14:57:35   15              What did you understand Mr. Larson to be

16   14:57:37   16    saying when you received this email?

17   14:57:41   17         A.   That changing defrost times was operational.

18   14:57:45   18         Q.   Is changing defrost times something that's

19   14:57:47   19    in Dickinson's control?

20   14:57:47   20         A.   Yes.

21   14:57:52   21         Q.   Okay.   And you were asking Mr. Larson to

22   14:57:55   22    assist with something, and he's saying "I can't if

23   14:57:58   23    those numbers are changing"?

24   14:57:59   24         MR. BOLINGER:    Object to the characterization.

25   14:58:03   25         THE WITNESS:    Repeat the question.



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 1   14:58:05    1         Q.    (BY MR. WATKINS)    You were asking Mr. Larson

 2   14:58:09    2    at Kemper to provide some assistance, and he's

 3   14:58:13    3    responding, in essence, that he's going to have a

 4   14:58:17    4    difficult time doing that if Dickinson employees kept

 5   14:58:19    5    changing the defrost times?

 6   14:58:19    6         A.    Yes.

 7   14:58:20    7         MR. BOLINGER:     Object to the characterization.

 8   14:58:22    8         THE WITNESS:    Yes.

 9   14:58:23    9         Q.    (BY MR. WATKINS)    If you look at the last

10   14:58:27   10    part of his email, he says "Please have Sergio tell

11   14:58:31   11    his guys to leave the timers alone again.     Put them to

12   14:58:36   12    15 min on the hot gas and be done for a few days.      Let

13   14:58:40   13    us see what, if anything, is going on with the

14   14:58:40   14    checks."

15   14:58:42   15               Did you understand him to mean check valves

16   14:58:57   16    when he says checks?

17   14:58:57   17         A.    Yes.

18   14:59:00   18         Q.    Did you tell Sergio to have his guys leave

19   14:59:00   19    the times alone?

20   14:59:01   20         A.    Yes.

21   14:59:02   21         Q.    And did they?

22   14:59:04   22         A.    As far as I know, they did.

23   14:59:07   23         Q.    How would you have communicated that to

24   14:59:10   24    Mr. Castaneda?

25   14:59:10   25         A.    Verbally.



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 1   14:59:16    1          Q.   Let's go ahead and look at Exhibit 161 --

 2   14:59:17    2    66.   Excuse me.

 3   14:59:19    3               (Exhibit 166 marked.)

 4   14:59:34    4          Q.   (BY MR. WATKINS)       This is an email that Juan

 5   14:59:41    5    Alvarado forwarded on to yourself and Mr. Castaneda.

 6   14:59:44    6    I'm focused on the email at the bottom of this string

 7   14:59:46    7    from Kris Hinds of Nestle.

 8   14:59:50    8               Have you ever met Kris Hinds before?

 9   14:59:51    9          A.   Hinds, yes.

10   14:59:56   10          Q.   Hinds, excuse me.       Kris Hinds has -- he says

11   14:59:59   11    "Hi, Juan.   This is what I want to accomplish next

12   15:00:02   12    Thursday," and then he has a bulleted list.         If you

13   15:00:05   13    flip to the second page, the second to the last

14   15:00:09   14    bullet, Mr. Hinds says "Could we try not spraying any

15   15:00:13   15    water in freezer.     We can discuss when I get there."

16   15:00:15   16               Did you or Mr. Castaneda or Mr. Alvarado

17   15:00:20   17    have any conversation about Mr. Hinds' request not to

18   15:00:23   18    have water sprayed at the freezer?

19   15:00:24   19          MR. BOLINGER:    Objection.     Calls for speculation

20   15:00:26   20    as to other witnesses.

21   15:00:28   21          THE WITNESS:    No.   No.

22   15:00:29   22          Q.   (BY MR. WATKINS)       Okay.   You yourself never

23   15:00:32   23    had a conversation about spraying water?

24   15:00:32   24          A.   No.

25   15:00:34   25          Q.   What -- I think you testified earlier that



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 1   15:00:37    1    it was your understanding that Nestle was one of the

 2   15:00:39    2    largest customers of Dickinson?

 3   15:00:40    3          A.   What I've been told.

 4   15:00:46    4          Q.   What you've been told.

 5   15:00:49    5               Did you -- when you received this request

 6   15:00:55    6    from Mr. Hinds of Nestle to not spray water at the

 7   15:00:57    7    freezer, what, if anything, did you do as a result?

 8   15:01:00    8          A.   I did nothing.    It had nothing to do with

 9   15:01:00    9    me.

10   15:01:03   10          Q.   Okay.    And do you know if Mr. Castaneda or

11   15:01:04   11    Mr. Alvarado did anything?

12   15:01:05   12          A.   I do not know.

13   15:01:09   13          Q.   Okay.    Let's look at previously produced

14   15:01:27   14    Exhibit 135.     Exhibit 135 is an email from Jason Kwok

15   15:01:32   15    to yourself.     His second sentence says "The coil

16   15:01:36   16    suction temperatures was fluctuated more than 10 DF

17   15:01:41   17    and couldn't bring down and stay with negative 40 DF."

18   15:01:44   18               As the maintenance manager who interfaced

19   15:01:49   19    with Kemper, did you do anything as a result of this

20   15:01:49   20    notification?

21   15:01:51   21          A.   No.

22   15:01:56   22          Q.   And I'm -- do you have a reason as to why

23   15:01:57   23    you did not?

24   15:01:59   24          A.   It was not directed to me.    I was just

25   15:02:01   25    copied on it.



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 1   15:02:04    1         Q.   When it said "gentlemen" and you were in the

 2   15:02:08    2    "to" field, you didn't believe it was directed to you?

 3   15:02:08    3         A.   Correct.

 4   15:02:09    4         MR. BOLINGER:    Objection.

 5   15:02:09    5         MR. WATKINS:    Okay.

 6   15:02:09    6         MR. BOLINGER:    Hold on.

 7   15:02:09    7         THE WITNESS:    I'm sorry.

 8   15:02:11    8         MR. BOLINGER:    Make sure you take a pause because

 9   15:02:13    9    I need to get my objections in.

10   15:02:16   10              Objection.    Argumentative.    Also, again, for

11   15:02:18   11    the record, there are attachments to this document

12   15:02:21   12    which were not included in Exhibit 135.

13   15:02:24   13         Q.   (BY MR. WATKINS)    Was what Mr. Kwok was

14   15:02:30   14    communicating to you about not having negative 40 DF,

15   15:02:34   15    was that consistent with what you were personally

16   15:02:37   16    observing with respect to the compressor or the

17   15:02:37   17    suction temperature?

18   15:02:39   18         MR. BOLINGER:    Objection.    Calls for expert

19   15:02:41   19    opinion testimony.    Calls for speculation.

20   15:02:42   20         THE WITNESS:    No.

21   15:02:43   21         Q.   (BY MR. WATKINS)    That was not consistent

22   15:02:46   22    with what you were observing?      What were you --

23   15:02:47   23         MR. BOLINGER:    Same objection.

24   15:02:49   24         Q.   (BY MR. WATKINS)    Sorry.    Was that not

25   15:02:51   25    consistent with what you were observing?



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 1   15:02:53    1           A.   I was not observing anything.

 2   15:03:00    2           Q.   Okay.   Is there a way at which you as the

 3   15:03:04    3    maintenance manager would have been able to check what

 4   15:03:08    4    these suction temperature was?

 5   15:03:09    5           MR. BOLINGER:    Objection.   Calls for expert

 6   15:03:11    6    opinion testimony.      Calls for speculation.

 7   15:03:16    7                You can answer it if you understand it.

 8   15:03:17    8           THE WITNESS:    Repeat the question.

 9   15:03:19    9           Q.   (BY MR. WATKINS)    Sure.   As the maintenance

10   15:03:23   10    manager, do you have any access to a computer system

11   15:03:28   11    or a read out gauge or anything of the sort that would

12   15:03:31   12    have indicated to you what the suction temperature

13   15:03:31   13    was?

14   15:03:31   14           A.   Yes.

15   15:03:35   15           Q.   And did you ever check those sources?

16   15:03:35   16           A.   No.

17   15:03:40   17           Q.   Okay.   Let's look at what has been

18   15:03:42   18    previously produced as Exhibit 138.

19   15:03:54   19                This an email string between yourself,

20   15:03:57   20    Mr. Castaneda --

21   15:03:58   21           MR. BOLINGER:    Hold on, Counsel.

22   15:03:58   22           MR. WATKINS:    Sure.

23   15:04:02   23           MR. BOLINGER:    Let me see if I can find a copy.

24   15:04:04   24    Okay.

25   15:04:06   25           Q.   (BY MR. WATKINS)    Before we dive into this



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 1   15:04:08    1    email, you said that there are sources that you can

 2   15:04:13    2    look at to see what the suction temperature is.

 3   15:04:14    3               What are those sources?

 4   15:04:15    4         A.    The panel at the tunnel.

 5   15:04:18    5         Q.    The panel at the tunnel will tell you that?

 6   15:04:18    6         A.    Yes.

 7   15:04:21    7         Q.    Okay.   And is that just a matter of -- is

 8   15:04:25    8    that information always displayed, or do you need to

 9   15:04:29    9    swipe through a menu or something to get that?

10   15:04:33   10         A.    You go through a menu, but, yes.

11   15:04:36   11         Q.    Easily accessible if you wanted to?

12   15:04:36   12         A.    Yes.

13   15:04:39   13         Q.    Looking at Exhibit 138, if you flip to the

14   15:04:49   14    second page, Victor Samaguey, S-A-M-A-G-U-E-Y, sends

15   15:04:53   15    an email to Sergio/Todd saying that there is an

16   15:04:59   16    invoice from Kemper for $11,872.50 and asks if it's

17   15:05:00   17    acceptable to pay that amount.

18   15:05:04   18               Mr. Campbell responds "I don't know what

19   15:05:08   19    this is.   Kemper states Bob called them out for the

20   15:05:10   20    observation.    Bob needs to explain what it is for

21   15:05:13   21    before it gets paid."

22   15:05:15   22               Do you know what is being discussed in this

23   15:05:17   23    email string?

24   15:05:17   24         A.    Yes.

25   \\stoel.com\Lit\Cases\0085000-01047



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 1   15:16:27    1    valves.

 2   15:16:29    2         Q.   Any others?

 3   15:16:30    3         A.   Not that I can recall.

 4   15:16:33    4         Q.   Any issues with the compressors that you

 5   15:16:35    5    ascribed to Kemper?

 6   15:16:39    6         A.   We did have the oil issue, but that was

 7   15:16:42    7    something that they had resolved.     So, I mean, it was

 8   15:16:46    8    just ongoing startup issues really.

 9   15:16:49    9         Q.   So were those startup issues ongoing from

10   15:16:54   10    when the Kemper system was in place up until July 14,

11   15:16:57   11    2017?

12   15:16:58   12         MR. BOLINGER:    Objection.   Foundation.

13   15:17:02   13         THE WITNESS:    I can't be sure of the date.

14   15:17:05   14         Q.   (BY MR. WATKINS)    Were those ongoing startup

15   15:17:09   15    issues going on up until at least March 10, 2017, when

16   15:17:13   16    you emailed and texted Mr. York to send somebody out

17   15:17:15   17    for at least a week?

18   15:17:15   18         A.   Yes.

19   15:17:16   19         MR. BOLINGER:    Objection.   Foundation.

20   15:17:18   20         THE WITNESS:    Yes.

21   15:17:23   21         Q.   (BY MR. WATKINS)    You then say this caused

22   15:17:29   22    you to have a lack of faith in the system -- in the

23   15:17:31   23    refrigeration system?

24   15:17:33   24         A.   That's what it says.

25   15:17:37   25         Q.   And you meant that when you said it in this



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 1   15:17:37    1    email?

 2   15:17:40    2         A.   Due to the random issues we were constantly

 3   15:17:40    3    experiencing.

 4   15:17:43    4         Q.   You then say "We were losing so much time

 5   15:17:50    5    and production due to the techs being three to four

 6   15:17:54    6    hours away and then one to two hours of repair time

 7   15:17:57    7    once he got here that we wanted to make sure any

 8   15:18:00    8    refrigeration issues that would come up were dealt

 9   15:18:02    9    with in an expeditious manner."

10   15:18:05   10              What do you mean by you were losing so much

11   15:18:05   11    time?

12   15:18:07   12         A.   Well, three to four hours to get the tech

13   15:18:11   13    there and then an hour to an hour and a half to repair

14   15:18:13   14    it, you've lost over half a day.

15   15:18:15   15         Q.   And then what do you mean when you say that

16   15:18:16   16    you were losing production?

17   15:18:18   17         A.   Well, if the plant is not running, you are

18   15:18:19   18    not producing.

19   15:18:22   19         Q.   So you weren't able to get the throughput

20   15:18:25   20    you would have liked because of this distance in the

21   15:18:27   21    techs and these random issues that kept occurring?

22   15:18:30   22         A.   It would --

23   15:18:30   23         MR. BOLINGER:    Objection.   Argumentative.

24   15:18:35   24         THE WITNESS:    It would allude to that, yeah.

25   15:18:38   25         Q.   (BY MR. WATKINS)    "Since we were told so



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 1   15:18:40    1    many times that all was good just to have issues arise

 2   15:18:44    2    hours after the tech had left had caused us to lose

 3   15:18:48    3    just about all faith in the word and" -- "in their

 4   15:18:49    4    word and the system."

 5   15:18:54    5                You agreed with that when you sent this

 6   15:18:54    6    email?

 7   15:18:54    7         A.     Yes.

 8   15:19:02    8         Q.     You then say "although" -- strike that.

 9   15:19:06    9    This next sentence appears to be you giving a report

10   15:19:10   10    as to what happened when the tech was on-site for a

11   15:19:15   11    week plus -- and correct me if I'm wrong in that

12   15:19:18   12    assessment, but here's what you wrote.    "Although

13   15:19:21   13    there was not a lot of issues during the observation

14   15:19:24   14    dates, there were a few that came up.    Some on day

15   15:19:27   15    shift, some on swing shift, and there may have been

16   15:19:30   16    some undocumented times on the midnight shift."

17   15:19:32   17                Did you ever become aware whether there were

18   15:19:36   18    any undocumented issues on the midnight shift?

19   15:19:37   19         A.     No.    No.

20   15:19:39   20         Q.     So it may have occurred; you just don't know

21   15:19:40   21    about it?

22   15:19:40   22         A.     Correct.

23   15:19:49   23         Q.     You then list that there was an issue on the

24   15:19:51   24    12th on the swing shift?

25   15:19:51   25         A.     Yes.



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 1   15:19:54    1         Q.   And then another one on the 13th on the

 2   15:19:55    2    swing shift?

 3   15:19:55    3         A.   Yes.

 4   15:19:58    4         Q.   And then another Kemper issue on the 14th on

 5   15:19:59    5    the swing shift?

 6   15:19:59    6         A.   Yes.

 7   15:20:03    7         Q.   And then another Kemper issue on the 19th on

 8   15:20:04    8    the day shift?

 9   15:20:04    9         A.   Yes.

10   15:20:05   10         Q.   And another Kemper issue on the 20th on the

11   15:20:06   11    day shift?

12   15:20:06   12         A.   Yes.

13   15:20:10   13         Q.   Did any of those Kemper issues require a

14   15:20:12   14    shutdown in production?

15   15:20:12   15         A.   No.

16   15:20:17   16         Q.   Did any of those Kemper issues result in a

17   15:20:20   17    slowdown in throughput?

18   15:20:20   18         A.   Yes.

19   15:20:23   19         Q.   Which one ones of them?

20   15:20:26   20         A.   All of them would because it would shut a

21   15:20:27   21    zone down.

22   15:20:37   22         Q.   Okay.    If you look at the next paragraph

23   15:20:41   23    down, about halfway when you say "We need to

24   15:20:42   24    consider," do you see that?

25   15:20:42   25         A.   Yes.



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 1   15:20:45    1         Q.   You say "We need to consider the expected

 2   15:20:47    2    future business with Kemper that we are going to

 3   15:20:54    3    require (due to a lack of other options) as well as

 4   15:20:59    4    wanting to do the fair and equitable thing."

 5   15:21:00    5              What did you mean by the future business

 6   15:21:02    6    that you were expected to have with Kemper?

 7   15:21:05    7         A.   Future dealings with them.    Kemper is the

 8   15:21:08    8    refrigeration outfit we use.

 9   15:21:10    9         Q.   And you have a refrigeration system?

10   15:21:10   10         A.   Yes.

11   15:21:12   11         Q.   Okay.   What did you mean when you said "due

12   15:21:14   12    to lack of other options"?

13   15:21:18   13         A.   Nobody else would come to work on our

14   15:21:18   14    system.

15   15:21:19   15         Q.   Why is that?

16   15:21:21   16         A.   Well, Kemper installed it; so it's a Kemper

17   15:21:24   17    installation, and these guys don't like to work on

18   15:21:27   18    other people's installations, especially new ones.

19   15:21:29   19         Q.   Okay.   Okay.   So at least from your

20   15:21:32   20    perspective as the maintenance manager, did you see

21   15:21:35   21    Kemper as being kind of the go-to refrigeration

22   15:21:39   22    company that you are pretty much bound to use?

23   15:21:39   23         A.   Yes.

24   15:21:59   24         Q.   Did you have any say -- strike that.

25   15:22:03   25              In the final paragraph, you say "However, I



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 1   15:22:08    1    feel that since it was Eric that misunderstood what we

 2   15:22:10    2    were after and since there were a few issues that did

 3   15:22:14    3    show up there" -- "that did show their ugly head (5

 4   15:22:20    4    out of the 9 days in question) Kemper should pay half

 5   15:22:23    5    of the stake."   And I believe that's a Judge Judy

 6   15:22:24    6    reference?

 7   15:22:24    7         A.   Yes.

 8   15:22:26    8         Q.   So five of the nine days that Kemper was

 9   15:22:30    9    on-site there were refrigeration issues that caused

10   15:22:32   10    the system to slow down?

11   15:22:32   11         A.   Yes.

12   15:22:37   12         Q.   You say "Their system had the constant

13   15:22:39   13    random issues that made their system untrustworthy in

14   15:22:51   14    our eyes"; is that right?

15   15:22:51   15         A.   Yes.

16   15:22:55   16         Q.   Did you ever communicate any of this to FPS?

17   15:22:56   17         A.   I did not.

18   15:22:58   18         Q.   Do you know if anyone did?

19   15:23:00   19         A.   I do not.

20   15:23:07   20        Q.    Let's go ahead and look at Exhibit 167 --

21   15:23:09   21         MS. FRANOLICH:    Oh, I'm sorry.   167.

22   15:23:11   22         MR. WATKINS:   167.   It's going to be Document 39.

23   15:23:16   23              (Exhibit 167 marked.)

24   15:23:42   24         Q.   (BY MR. WATKINS)    This is an email between

25   15:23:48   25    yourself, Todd Campbell, and Troy Hastings that does



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 1   15:23:53    1    have the pdf attached to it, and in it Mr. Hastings is

 2   15:23:59    2    giving you a proposal for opening up and closing of

 3   15:24:00    3    the building.

 4   15:24:01    4              Do you see that?

 5   15:24:01    5         A.   Yes.

 6   15:24:03    6         Q.   And the subject line is "Opening and closing

 7   15:24:05    7    of building for new freeze tunnel."

 8   15:24:09    8              Do you see that in the subject line?

 9   15:24:09    9         A.   Yep.

10   15:24:11   10         Q.   Do you know what this is about -- what this

11   15:24:12   11    is for?

12   15:24:12   12         A.   Yes.

13   15:24:13   13         Q.   What is it?

14   15:24:16   14         A.   It's for opening the walls to get the freeze

15   15:24:16   15    tunnel in.

16   15:24:18   16         Q.   Which freeze tunnel?

17   15:24:22   17         A.   The FPS -- or the GEA.    One of the two.     I

18   15:24:24   18    mean, we had to open the walls for both.

19   15:24:28   19         Q.   So I'm looking at this.    This is dated --

20   15:24:29   20         A.   '17.

21   15:24:38   21         Q.   Yeah, 9/6/2017.    What month is nine?

22   15:24:39   22    September?

23   15:24:39   23         MS. FRANOLICH:   September.

24   15:24:41   24         Q.   (BY MR. WATKINS)    I apologize.   September 6,

25   15:24:47   25    2017.   And my understanding is that the FPS freezer



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 1   15:24:49    1    was installed in July of 2016.

 2   15:24:50    2         A.    Okay.

 3   15:24:52    3         Q.    So does that date, September 6, 2017,

 4   15:24:59    4    indicate to you which freezer this proposal is

 5   15:25:00    5    referring to?

 6   15:25:01    6         A.    It indicates to me it would be for the new

 7   15:25:02    7    tunnel.

 8   15:25:03    8         Q.    The GEA freezer?

 9   15:25:05    9         A.    The GEA.

10   15:25:08   10         Q.    Okay.   Why is it that in September of 2017

11   15:25:11   11    you are receiving a bid for putting in the GEA

12   15:25:12   12    freezer?

13   15:25:16   13         A.    I would have been asked to get one.    Not to

14   15:25:19   14    put in the tunnel but to open the wall.

15   15:25:20   15         Q.    Open up the wall.

16   15:25:23   16               Referring to the last exhibit, that was

17   15:25:28   17    dated July 14, 2017.    And in your July 14, 2017, you

18   15:25:35   18    seemed to point out some multiple issues that were

19   15:25:39   19    consistent with the Kemper refrigeration system.

20   15:25:41   20               Why is it that two months later you are

21   15:25:46   21    looking to replace the FPS freezer with the GEA

22   15:25:47   22    freezer?

23   15:25:48   23         MR. BOLINGER:    Objection.   Mischaracterizes prior

24   15:25:52   24    testimony.   Mischaracterized the document.    Assumes

25   15:25:55   25    facts not yet established in evidence.     Calls for



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 1   15:25:55    1    speculation.

 2   15:25:58    2         THE WITNESS:    Repeat the question.

 3   15:25:59    3         Q.    (BY MR. WATKINS)   Yeah.   In your July 14,

 4   15:26:05    4    2017, email you were listing various issues that I

 5   15:26:09    5    think you said constantly -- startup issues that

 6   15:26:11    6    consistently occurred throughout the life of the

 7   15:26:16    7    Kemper system.    But in September of 2017, you are

 8   15:26:21    8    getting a quote to replace the FPS system with the GEA

 9   15:26:25    9    freezer -- or to have the walls opened up so you could

10   15:26:28   10    do that.   I'm just wondering why that is occurring?

11   15:26:30   11         A.    Because I was told to.

12   15:26:32   12         Q.    Who told you to do that?

13   15:26:33   13         A.    Sergio.

14   15:26:36   14         Q.    When Sergio told you to do that, did you

15   15:26:41   15    make any comment concerning the Kemper system or any

16   15:26:43   16    issues that you had with that and whether or not

17   15:26:46   17    replacing the FPS freezer was the right call?

18   15:26:50   18         MR. BOLINGER:    Objection.   Assumes facts not yet

19   15:26:52   19    established in evidence.    Calls for speculation.

20   15:26:53   20         THE WITNESS:    No.

21   15:26:55   21         Q.    (BY MR. WATKINS)   You never pushed back on

22   15:26:57   22    Sergio on that?

23   15:26:57   23         MR. BOLINGER:    The same objection.

24   15:26:59   24         THE WITNESS:    No.

25   15:27:04   25         Q.    (BY MR. WATKINS)   Were you aware that in or



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 1   15:27:11    1    around September 15, 2017, a representative from FPS

 2   15:27:16    2    was on-site at Dickinson to troubleshoot the FPS

 3   15:27:16    3    freezer?

 4   15:27:18    4         A.    I do not remember.

 5   15:27:20    5         Q.    Were you remember -- do you remember a time

 6   15:27:27    6    where several individuals from Kemper and Nestle and

 7   15:27:31    7    FPS were all on-site to kind of troubleshoot what was

 8   15:27:34    8    going on at the Dickinson facility?

 9   15:27:34    9         A.    Yes.

10   15:27:40   10         Q.    When that occurred, did you tell anyone from

11   15:27:43   11    FPS that you had been receiving quotes to replace the

12   15:27:47   12    FPS freezer for a GEA freezer?

13   15:27:50   13         MR. BOLINGER:    Objection.   Assumes facts not yet

14   15:27:52   14    established in the evidence.    Mischaracterizes the

15   15:27:55   15    prior testimony and the document.     Calls for

16   15:27:55   16    speculation.

17   15:27:56   17         THE WITNESS:    No.

18   15:28:02   18         Q.    (BY MR. WATKINS)   Do you know when Dickinson

19   15:28:05   19    first considered replacing the FPS freezer?

20   15:28:06   20         A.    No.

21   15:28:08   21         Q.    Do you know when Dickinson ultimately

22   15:28:10   22    decided to replace the FPS freezer?

23   15:28:10   23         A.    No.

24   15:28:15   24         Q.    Were you part of any of those conversations?

25   15:28:16   25         A.    No.



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 1   15:28:19    1         Q.   Do you know who was responsible for making

 2   15:28:20    2    that decision?

 3   15:28:20    3         A.   No.

 4   15:28:23    4         Q.   Would it have been Todd Campbell?

 5   15:28:24    5         MR. BOLINGER:    Objection.   Calls for speculation.

 6   15:28:26    6         THE WITNESS:    I do not know.

 7   15:28:30    7         Q.   (BY MR. WATKINS)    Okay.   Did you provide any

 8   15:28:38    8    information to anyone at Dickinson with respect to the

 9   15:28:39    9    purchase of the GEA freezer?

10   15:28:40   10         A.   No.

11   15:28:44   11         Q.   So you'll recall some earlier emails we

12   15:28:47   12    looked at where you were providing information to

13   15:28:50   13    Danny Hu regarding water and other information from

14   15:28:52   14    the FPS freezer prior to its installation.

15   15:28:54   15              Do you remember those emails generally?

16   15:28:55   16         A.   Yes.

17   15:28:58   17         Q.   Did you have a similar interaction with

18   \\stoel.com\Lit\Cases\0085000-01047

19   15:29:06   19    into your facility -- where you would provide

20   15:29:08   20    information about the facility?

21   15:29:08   21         A.   Yes.

22   \\stoel.com\Lit\Cases\0085000-01047

23   15:29:12   23    you emailed with?

24   15:29:12   24         A.   I don't remember.

25   15:29:16   25         Q.   Did you produce any of those emails to your



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 1   15:29:16    1    counsel?

 2   15:29:20    2         A.    I don't remember.

 3   15:29:22    3         Q.    Do you have any idea approximately how many

 4   15:29:25    4    emails you sent concerning the GEA installation

 5   15:29:26    5    process?

 6   15:29:27    6         A.    No.

 7   15:29:35    7         MR. BOLINGER:    Objection.

 8   15:29:36    8         Q.    (BY MR. WATKINS)    To the best of your

 9   15:29:40    9    recollection, what sorts or categories of information

10   15:29:46   10    were GEA representatives asking of you?

11   15:29:49   11    Information-wise what were they wanting to know?

12   15:29:50   12         MR. BOLINGER:    Objection.   Foundation.

13   15:29:52   13         THE WITNESS:    Repeat the question.

14   15:29:54   14         Q.    (BY MR. WATKINS)    What types or categories

15   15:29:59   15    of information were GEA representatives wanting to

16   15:30:01   16    know from you or your department in order to have you

17   15:30:04   17    receive the GEA freezer?

18   15:30:07   18         MR. BOLINGER:    Objection.   Foundation.

19   15:30:11   19         THE WITNESS:    Openings to the building, access to

20   15:30:18   20    the building, is there going to be water available, is

21   15:30:21   21    there going to be power available, that sort of stuff.

22   15:30:22   22         Q.    (BY MR. WATKINS)    Was the information and

23   15:30:25   23    the -- was the questions they asked and the

24   15:30:27   24    information you provided to GEA representatives

25   15:30:30   25    similar to the questions asked and the information you



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 1   15:52:36    1         Q.   Do you think Mike Holden would know the age

 2   15:52:38    2    of the Dickinson building?

 3   15:52:38    3         A.   No.

 4   15:52:41    4         MR. BOLINGER:    Objection.   Calls for speculation.

 5   15:52:46    5         Q.   (BY MR. WATKINS)    And so you knew that

 6   15:52:50    6    Mr. Tiegs and Mr. Holden had a prior relationship -- a

 7   15:52:52    7    prior business relationship, at least, and so you

 8   15:52:55    8    assumed that Frank likes Mike and so that's probably

 9   15:52:57    9    the company you would go with?

10   15:52:57   10         A.   Yes.

11   15:53:03   11         Q.   How involved was Mr. Tiegs in selecting

12   15:53:06   12    subcontractors for this project?

13   15:53:07   13         MR. BOLINGER:    Objection.   Foundation.

14   15:53:07   14         THE WITNESS:    I don't know.

15   15:53:10   15         Q.   (BY MR. WATKINS)    Did you ever receive any

16   15:53:13   16    communications from Mr. Tiegs either directly or

17   15:53:18   17    through Sergio or other channels saying "Use that sub.

18   15:53:20   18    Don't use that sub," et cetera?

19   15:53:26   19         A.   No.

20   15:53:32   20         Q.   Look at Exhibit 169.

21   15:53:34   21         MR. WATKINS:    It's Document 45, Jackie.

22   15:53:55   22              (Exhibit 169 marked.)

23   15:53:57   23         Q.   (BY MR. WATKINS)    This is an email from Eric

24   15:54:01   24    York to Todd and yourself.    "Bob/Todd, attached is the

25   15:54:05   25    updated quote for the refrigeration system in Sugar



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 1   15:54:09    1    City.   Note the following changes:   Compressor HP went

 2   15:54:14    2    down to 600 HP due to eliminating a lot of the

 3   15:54:15    3    economizer load."

 4   15:54:17    4               First, do you know what Mr. York is talking

 5   15:54:21    5    about regarding the economizer load?

 6   15:54:21    6         A.    No.

 7   15:54:25    7         Q.    Was ultimately a 700 horsepower or 600

 8   15:54:27    8    horsepower installed?

 9   15:54:29    9         A.    700.

10   15:54:31   10         MR. BOLINGER:    And for the record, again, it's a

11   15:54:34   11    one-page document.    The one -- with an attachment that

12   15:54:41   12    has not been included.

13   15:54:44   13        MR. WATKINS:     Let's look at Exhibit 170.

14   15:54:47   14               (Exhibit 170 marked.)

15   15:55:01   15         Q.    (BY MR. WATKINS)   This is an April 12, 2017,

16   15:55:05   16    email string involving several people.

17   15:55:08   17               Do you see the email at the bottom from Drew

18   15:55:08   18    Provard?

19   15:55:08   19         A.    Yes.

20   15:55:12   20         Q.    That's from Drew Provard, and it's sent to

21   15:55:13   21    several individuals, including yourself.

22   15:55:15   22               Do you see that?

23   15:55:15   23         A.    Yes.

24   15:55:20   24         Q.    Scan through the to list or the cc list.

25   15:55:35   25    Can you identity Mr. Schossberger's email address?



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 1   15:55:36    1         A.   No.

 2   15:55:39    2         Q.   Then go up to the top email and there is an

 3   15:55:44    3    email here from Mr. Schossberger that says "Thanks!"

 4   15:55:49    4              Do you know -- did you blind carbon copy

 5   15:55:53    5    Mr. Schossberger on this April 12, 2017, email --

 6   15:55:56    6         MR. BOLINGER:    Objection.   How could he have

 7   15:55:59    7    blind copied him when he didn't send the email?

 8   15:56:02    8         Q.   (BY MR. WATKINS)    Did you blind carbon copy

 9   15:56:05    9    Mr. Schossberger to this April 12, 2017, email?

10   15:56:07   10         MR. BOLINGER:    Counsel, how could he have done

11   15:56:08   11    that?

12   15:56:09   12         THE WITNESS:    No.

13   15:56:11   13         MR. WATKINS:    Let me get a clean record.

14   15:56:12   14         Q.   (BY MR. WATKINS)    Did you blind carbon copy

15   15:56:16   15    Mr. Schossberger to this April 12, 2017, email?

16   15:56:17   16         A.   No.

17   15:56:22   17         Q.   Do you know if Mr. Provard blind carbon

18   15:56:24   18    copied Mr. Schossberger in this email?

19   15:56:25   19         A.   No.

20   15:56:26   20         Q.   Do you have any understanding as to why

21   15:56:29   21    Mr. Schossberger would be included on these emails

22   15:56:33   22    between Kemper in or around April 24, 2017?

23   15:56:36   23         A.   Why he would be included?

24   15:56:37   24         Q.   Correct.

25   15:56:38   25         A.   No.



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 1   15:56:57    1         Q.   Okay.   In or around April -- in our around

 2   15:57:02    2    April 24 of 2017, did you believe that Dickinson was

 3   15:57:04    3    going to file a lawsuit against FPS?

 4   15:57:10    4         A.   I --

 5   15:57:11    5         MR. BOLINGER:    Objection.   Calls for opinion

 6   15:57:12    6    testimony.

 7   15:57:13    7         THE WITNESS:    Yeah, I don't know.   I don't know

 8   15:57:14    8    about the date.

 9   15:57:17    9         Q.   (BY MR. WATKINS)    Did you ever come to a

10   15:57:20   10    belief that Dickinson was going to file a lawsuit

11   15:57:25   11    against FPS?

12   15:57:27   12         MR. BOLINGER:    Same objection.   Also calls for

13   15:57:27   13    speculation.

14   15:57:29   14         THE WITNESS:    I'm not going to speculate.

15   15:57:32   15         Q.   (BY MR. WATKINS)    So my question was:     Did

16   15:57:33   16    you ever come to a belief that Dickinson was going to

17   15:57:36   17    file a lawsuit against FPS?

18   15:57:38   18         MR. BOLINGER:    Same objection.   Calls for opinion

19   15:57:40   19    testimony.   Calls for speculation.

20   15:57:43   20         THE WITNESS:    I eventually heard the rumor.

21   15:57:45   21         Q.   (BY MR. WATKINS)    Okay.   When did you

22   15:57:46   22    eventually hear that rumor?

23   15:57:47   23         A.   I don't remember.

24   15:57:49   24         Q.   Do you know who you heard it from?

25   15:57:49   25         A.   No.



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 1   15:57:54    1           Q.   Okay.     Well, was it around April of 2017?

 2   15:57:55    2           A.   I don't remember.

 3   15:58:02    3           Q.   Okay.    Go ahead and look at Exhibit 171.

 4   15:58:05    4                (Exhibit 171 marked.)

 5   15:58:20    5           Q.   (BY MR. WATKINS)     This is an email between

 6   15:58:29    6    yourself and Daren Hiner that references a pdf that is

 7   15:58:34    7    not attached.       And Mr. Hiner is forwarding you an

 8   15:58:36    8    email from Jennifer Shambley.

 9   15:58:39    9                Do you know who Jennifer Shambley is?

10   15:58:41   10           A.   No.

11   15:58:43   11           Q.   According to her signature block, Jennifer

12   15:58:46   12    Shambley works at GEA refrigeration.

13   15:58:49   13                Does that seem accurate to you?

14   15:58:50   14           A.   I would think so, yes.

15   15:58:54   15           Q.   Okay.     In the email Jennifer says "You

16   15:58:57   16    requested the attached quote.         Let me know if you have

17   15:58:57   17    any questions."

18   15:59:01   18                Did you direct Daren Hiner to request a

19   15:59:05   19    quote from GEA in or around April 26, 2017?

20   15:59:11   20           A.   I don't remember.     I don't know what this

21   15:59:13   21    was about.

22   15:59:17   22           Q.   Do you know if in April 26, 2017, Dickinson

23   15:59:24   23    was looking at potentially purchasing a freezer from

24   15:59:24   24    GEA?

25   15:59:26   25           MR. BOLINGER:     Objection.    Calls for speculation.



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 1   15:59:30    1    This is not a 30(b)(6).

 2   15:59:32    2         THE WITNESS:    I can't remember if I knew or not.

 3   15:59:34    3         Q.     (BY MR. WATKINS)    In or around -- in or

 4   15:59:37    4    around April 26, 2017, were you instructed by anyone

 5   15:59:41    5    to move forward with gathering information from

 6   15:59:44    6    potentially -- for Dickinson potentially purchasing a

 7   15:59:45    7    freezer from GEA?

 8   15:59:49    8         A.     I can't be sure of anything around that

 9   15:59:52    9    date.   I --

10   15:59:54   10         Q.     The subject of this email is "Quote for

11   15:59:55   11    freezer parts."

12   15:59:56   12                Is there any reason why you would be

13   16:00:02   13    ordering freezer parts from GEA for the FPS freezer

14   16:00:03   14    and not from FPS?

15   16:00:07   15         A.     Where do we see -- oh, I see a quote for

16   16:00:09   16    freezer parts.    Okay.    What's the question?

17   16:00:12   17         Q.     The subject says "Quote for freezer parts."

18   16:00:16   18    Is there any reason why Dickinson would be ordering

19   16:00:21   19    freezer parts from GEA for the FPS freezer and not

20   16:00:23   20    from FPS?

21   16:00:38   21         MR. BOLINGER:    Can I have that question read

22   16:00:38   22    back, please.

23   16:00:41   23                   (The question was read back.)

24   16:00:41   24         MR. BOLINGER:    Okay.

25   16:00:46   25         THE WITNESS:    No.



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 1   16:00:48    1           MR. WATKINS:    Let's go ahead and look at Exhibit

 2   16:00:49    2    172.

 3   16:00:53    3                (Exhibit 172 marked.)

 4   16:01:16    4           Q.   (BY MR. WATKINS)    This is a meeting

 5   16:01:20    5    minute -- it says "Troubleshoot FPS tunnel freezer"

 6   16:01:23    6    and then in the first bullet point it says

 7   16:01:26    7    "attendees," and you are listed as one of the

 8   16:01:27    8    attendees.

 9   16:01:28    9                Do you see that?

10   16:01:28   10           A.   Yes.

11   16:01:31   11           Q.   It's dated May 31 and June 1, 2017.

12   16:01:33   12                Do you see that?

13   16:01:33   13           A.   Yes.

14   16:01:36   14           Q.   Do you recall attending meetings with FPS

15   16:01:40   15    personnel and these other individuals listed in or

16   16:01:43   16    around May 31 to June 31, 2017?

17   16:01:44   17           A.   I do not.

18   16:01:46   18           MR. BOLINGER:    You misspoke on the date, Counsel.

19   16:01:47   19    It's fine.

20   16:01:48   20           Q.   (BY MR. WATKINS)    Do you recall attending a

21   16:01:53   21    meeting with FPS personnel in or around May 31 to June

22   16:01:54   22    1, 2017?

23   16:01:55   23           A.   I do not recall.

24   16:01:58   24           Q.   Would this meeting have been held at

25   16:02:01   25    Dickinson's facility?



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 1   16:02:01    1         A.   Yes.

 2   16:02:05    2         Q.   In that conference room there?

 3   16:02:05    3         A.   Yes.

 4   16:02:11    4         Q.   If you look at bullet point No. 4, it says

 5   16:02:17    5    "The IQF is running 24 hours a day.     Stop product flow

 6   16:02:21    6    20 to 30 mins every four hours to watch upstream and

 7   16:02:24    7    downstream conveyors.    Requested by Nestle."

 8   16:02:29    8              Do you recall Nestle ever requesting

 9   16:02:33    9    Dickinson to stop production every four hours or so to

10   16:02:34   10    clean upstream and downstream?

11   16:02:37   11         A.   I do not recall them requesting it, no.

12   16:02:39   12         Q.   Is it your experience that the production at

13   16:02:43   13    FPS -- at Dickinson stops every four hours or so for

14   16:02:44   14    cleaning purposes?

15   16:02:44   15         A.   Yes.

16   16:02:49   16         Q.   No. 5 says "All coil suction temperatures

17   16:02:54   17    cannot reach negative 40 DF as FPS specified.      They

18   16:03:00   18    are fluctuated from 28 DF" -- "from negative 28 DF to

19   16:03:03   19    negative 37 DF during production."

20   16:03:07   20              So as of June 2017, you were still receiving

21   16:03:13   21    reports that the suction coils were not consistently

22   16:03:15   22    reaching negative 40 DF?

23   16:03:16   23         MR. BOLINGER:    Objection.   Foundation.   It hasn't

24   16:03:20   24    been established that he received this document.

25   16:03:23   25         THE WITNESS:    Yes, that's correct.   What he just



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 1   16:03:25    1    said.   I don't -- I was not, no.

 2   16:03:26    2         Q.   (BY MR. WATKINS)     My question is not whether

 3   16:03:28    3    you received the document.     You testified earlier that

 4   16:03:30    4    you were present at this meeting; correct?

 5   16:03:30    5         A.   Yes.

 6   16:03:33    6         MR. BOLINGER:    No.   He testified he didn't

 7   16:03:35    7    remember if he was at the meeting.

 8   16:03:37    8         THE WITNESS:    This says I was there.

 9   16:03:38    9         Q.   (BY MR. WATKINS)     Do you have any reason to

10   16:03:41   10    question whether or not the attendees list is accurate

11   16:03:43   11    on this document?

12   16:03:44   12         A.   I have no reason to.

13   16:03:46   13         Q.   Okay.   If your name is on the attendees

14   16:03:49   14    list, is it your understanding that you were more

15   16:03:51   15    likely than not at this meeting?

16   16:03:51   16         A.   Yes.

17   16:03:53   17         MR. BOLINGER:    Objection.   Calls for speculation.

18   16:03:54   18    Argumentative.

19   16:03:56   19         THE WITNESS:    Yes.

20   16:03:57   20         Q.   (BY MR. WATKINS)     Yes.

21   16:04:01   21              So during this meeting, it was communicated

22   16:04:06   22    to you and the others in the meeting that the -- as of

23   16:04:11   23    June 2017, the coils were not consistently reaching

24   16:04:13   24    negative 40 degrees Fahrenheit?

25   16:04:15   25         MR. BOLINGER:    Objection.   Foundation.



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 1   16:04:15    1    Argumentative.

 2   16:04:23    2         THE WITNESS:      Yes.

 3   16:04:26    3         Q.     (BY MR. WATKINS)    On No. 7 it says "Todd

 4   16:04:28    4    clarified."

 5   16:04:29    5                Do you understand that to mean Todd

 6   16:04:31    6    Campbell?

 7   16:04:31    7         A.     Yes.

 8   16:04:36    8         Q.     It says "Todd Campbell clarified the product

 9   16:04:40    9    discharge temperature should be zero DF measured at

10   16:04:44   10    FPS freezer discharge not packaging area."

11   16:04:47   11                Do you have any understanding as to where --

12   16:04:50   12    to the extent FPS was taking frozen temperature

13   16:04:54   13    readings of the product, where they were taking those

14   16:04:56   14    temperature readings at?

15   16:04:57   15         A.     No.

16   16:04:58   16         Q.     Do you know if they were ever taking those

17   16:05:01   17    temperature readings in the packaging area?

18   16:05:01   18         A.     No.

19   16:05:03   19         Q.     I think you testified earlier that the

20   16:05:07   20    packaging area can swing in temperature from some 40

21   16:05:08   21    degrees?

22   16:05:08   22         A.     No.

23   16:05:10   23         Q.     What did you testify to?

24   16:05:12   24         A.     No.    The packaging room will fluctuate in

25   16:05:17   25    temperature but not by 40 degrees.      Maybe 5, 6



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 1   16:05:17    1    degrees.

 2   16:05:21    2         Q.    Okay.   But it will fluctuate in temperature?

 3   16:05:21    3         A.    Yes.

 4   16:05:26    4         Q.    No. 17 says "Product lost heavily in

 5   16:05:30    5    transfer section.    Adjust the scraper blade as

 6   16:05:31    6    needed."

 7   16:05:34    7               Do you know if some time after June 1, 2017,

 8   16:05:39    8    you or members of your crew adjusted the scraper

 9   16:05:42    9    blades to cut down on product loss in transfer areas?

10   16:05:43   10         A.    No.

11   16:05:45   11         Q.    You did not do that, or you don't know if

12   16:05:47   12    you did that?

13   16:05:47   13         A.    I don't know.

14   16:05:58   14         Q.    Okay.   Let's look at Exhibit 173.

15   16:06:01   15               (Exhibit 173 marked.)

16   16:06:03   16         Q.    (BY MR. WATKINS)   Who would be the person in

17   16:06:06   17    charge of adjusting the scraper blades?

18   16:06:22   18         A.    The mechanics.

19   16:06:24   19         Q.    This is a November 10, 2017, email between

20   16:06:29   20    yourself and Mr. Provard with the subject line "new

21   16:06:30   21    tunnel."

22   16:06:31   22               Do you recognize this email?

23   16:06:31   23         A.    Yes.

24   16:06:39   24         Q.    In your email to Mr. Provard, you say "Drew,

25   16:06:42   25    are we going to change the cooling tower for the new



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 1   16:06:44    1    tunnel in any way?"

 2   16:06:46    2              What is the new tunnel that you are

 3   16:06:48    3    referring to in November 10 of 2017?

 4   16:06:55    4         A.   It would be the GEA.

 5   16:07:04    5         Q.   Okay.   In response, Mr. Provard in his last

 6   16:07:07    6    sentence says "We will only be changing the risers to

 7   16:07:11    7    each coil and adding a small vessel on the roof for

 8   16:07:12    8    the precool."

 9   16:07:13    9              Do you see that?

10   16:07:13   10         A.   Yes.

11   16:07:16   11         Q.   What do you -- what do you understand him to

12   16:07:17   12    mean by the risers?

13   16:07:20   13         A.   I don't know what he means.

14   16:07:25   14         Q.   Do you know if risers refers to suction

15   16:07:25   15    risers?

16   16:07:26   16         A.   I do not know.

17   16:07:29   17         Q.   And he mentions a small -- that you would be

18   16:07:31   18    adding a small vessel on the roof?

19   16:07:31   19         A.   Yes.

20   16:07:33   20         Q.   I think you testified to earlier that there

21   16:07:39   21    was a vessel on the roof for the FPS precool unit.

22   16:07:41   22              Do you recall giving that testimony?

23   16:07:41   23         A.   Yes.

24   16:07:47   24         Q.   Was that -- seeing Mr. Provard's email, does

25   16:07:50   25    that suggest that there was no vessel on the roof



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 1   16:07:57    1    until it was added for the GEA precooler?

 2   16:08:00    2         A.   I may have been wrong about that.    I know

 3   16:08:04    3    the surge drum was added, but it could have been added

 4   16:08:07    4    for the GEA instead of that.

 5   16:08:10    5         Q.   Okay.    So based on Mr. Provard's email,

 6   16:08:16    6    after -- after the FPS freezer was removed and the GEA

 7   16:08:20    7    freezer was put in place, during that process the

 8   16:08:22    8    risers were changed?

 9   16:08:26    9         A.   Yeah.    When the GEA was put in, they had to

10   16:08:28   10    change the risers because the penetrations were

11   16:08:29   11    different.

12   16:08:32   12         Q.   And a small vessel on the roof was added for

13   16:08:34   13    the precool?

14   16:08:34   14         A.   Yes.

15   16:08:35   15         Q.   Do you know of any other changes that were

16   16:08:37   16    made --

17   16:08:38   17         A.   No.    I'm sorry.

18   16:08:40   18         Q.   Do you know of any other changes that were

19   16:08:44   19    made to the refrigeration infrastructure to accept or

20   16:08:46   20    receive the GEA freezer?

21   16:09:09   21         A.   No.

22   16:09:13   22        Q.    Let's go ahead and look at Exhibit 174.

23   16:09:15   23              (Exhibit 174 marked.)

24   16:09:39   24         Q.   (BY MR. WATKINS)    Do you know who Scott

25   16:09:41   25    Hendricks is?



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 1   16:09:46    1         A.     Scott Hendricks -- the name does not ring a

 2   16:09:46    2    bell.

 3   16:09:49    3         Q.     There is a January 17, 2018, email from

 4   16:09:54    4    Scott Hendricks to Todd Campbell and he says "Morning,

 5   16:09:58    5    Todd.    I have been asked by FPS to follow up on the

 6   16:10:02    6    FPS freezer extraction.     They would like for us to get

 7   16:10:06    7    some photos and assess pick up on the storage of the

 8   16:10:10    8    unit (when legally appropriate).     I understand

 9   16:10:12    9    that" -- "I understand the complication between FPS

10   16:10:16   10    and Dickinson.    I want only to help.    Can you help me

11   16:10:19   11    out with this request, Todd?     Thank you for your

12   16:10:21   12    time."

13   16:10:24   13                Does that help you in understanding who

14   16:10:27   14    Scott Hendricks is?

15   16:10:27   15         A.     No.

16   16:10:29   16         Q.     Was he with Cold Solutions?

17   16:10:30   17         A.     I don't know.

18   16:10:35   18         Q.     At any rate, Mr. Campbell responds "At this

19   16:10:37   19    point you or anyone associated with FPS are not

20   16:10:42   20    allowed on-site.    No photos or access.    When that

21   16:10:46   21    changes, FPS will be notified and things can move

22   16:10:46   22    forward."

23   16:10:51   23                Did Mr. Campbell ever instruct you or tell

24   16:10:56   24    you to tell your employees not to allow FPS or FPS

25   16:10:59   25    employees to come and take photos or have access to



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 1   16:11:01    1    the site?

 2   16:11:06    2         A.     Prior to them being asked to leave, no.

 3   16:11:11    3         Q.     After they were asked to leave, was it later

 4   16:11:15    4    established as a policy of Dickinson or of the plant

 5   16:11:19    5    that FPS people were not allowed to come on-site?

 6   16:11:21    6         A.     I can't say it was policy, no.

 7   16:11:24    7         Q.     Was there an instruction or understanding by

 8   16:11:27    8    plant leadership that FPS personnel were not allowed

 9   16:11:29    9    on-site?

10   16:11:30   10         MR. BOLINGER:      Objection.   Calls for speculation.

11   16:11:32   11         THE WITNESS:      Yes.

12   16:11:33   12         Q.     (BY MR. WATKINS)    That was your

13   16:11:34   13    understanding?

14   16:11:34   14         A.     Yes.

15   16:11:37   15         Q.     Did you communicate that to your employees

16   16:11:38   16    or your subordinates?

17   16:11:43   17         A.     I didn't have to; so, no.

18   16:11:49   18         Q.     Okay.    Has that ever been lifted?

19   16:11:50   19         A.     Pardon me?

20   16:11:52   20         Q.     Has that ever been lifted -- the

21   16:11:53   21    restriction?

22   16:11:55   22         MR. BOLINGER:      I'm going to object to the form of

23   16:11:58   23    the question.      Calls for speculation.   Again, he's not

24   16:12:03   24    a 30(b)(6) witness.      He can testify as to his personal

25   16:12:03   25    knowledge.



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 1   16:39:58    1    4:39.

 2   16:40:01    2         MR. WATKINS:    Mr. Rebmann, we are back.   Thank

 3   16:40:03    3    you for your time today.    I have no further questions

 4   16:40:04    4    for you.

 5   16:40:06    5         MR. BOLINGER:    No question for him.

 6   16:40:09    6         THE VIDEOGRAPHER:    That's the end of video

 7   16:40:14    7    deposition Robert Rebmann.    We are off the record at

 8   16:40:15    8    4:39.

 9   16:40:15    9               (The deposition concluded at 4:40 p.m.)

10   16:40:15   10               (Signature requested.)

11   16:40:15   11

12   16:40:15   12

13   16:40:15   13

14   16:40:15   14

15   16:40:15   15

16   16:40:15   16

17   16:40:15   17

18   16:40:15   18

19   16:40:15   19

20   16:40:15   20

21   16:40:15   21

22   16:40:15   22

23   16:40:15   23

24   16:40:15   24

25   16:40:15   25



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 1               1                     REPORTER'S CERTIFICATE

 2               2               I, JANET L. FRENCH, CSR No. 946, Certified

 3               3    Shorthand Reporter, certify:

 4               4               That the foregoing proceedings were taken

 5               5    before me at the time and place therein set forth, at

 6               6    which time the witness was put under oath by me;

 7               7               That the testimony and all objections made

 8               8    were recorded stenographically by me and transcribed

 9               9    by me or under my direction;

10              10               That the foregoing is a true and correct

11              11    record of all testimony given, to the best of my

12              12    ability;

13              13               I further certify that I am not a relative

14              14    or employee of any attorney or party, nor am I

15              15    financially interested in this action.

16              16               IN WITNESS WHEREOF, I set my hand and seal

17              17    this 8th day of April, 2019.

18              18

19              19

20              20                     ___________________________________

21              21                     JANET L. FRENCH, CSR, RPR

22              22                     Notary Public

23              23                     P.O. Box 2636

24              24                     Boise, Idaho 83701-2636

25              25                     My Commission Expires 11/3/2022



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